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     Los Angeles, California 90017-3012
   6 Telephone: (213) 624-6900
     Facsimile: (213) 624-6999
   7
     Attorneys for Defendants CITY OF
   8 GARDENA, STEVE KIM, BRIAN
     PARK, ARNOLD PETERON, CHAD
   9 AMERINE, JASON HOOKER,
     NICHOLAS BEERLING, MARK
  10 THOMPSON, and WILLIAM
     MCREYNOLDS
  11
                          UNITED STATES DISTRICT COURT
  12
           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  13
  14
       ROSHAWN DOUGLAS, an individual,          Case No.
  15
                  Plaintiff,                    NOTICE OF REMOVAL OF
  16                                            ACTION BY DEFENDANTS
            v.                                  PURSUANT TO 28 U.S.C. § 1441(a)
  17                                            (FEDERAL QUESTION)
     CITY OF GARDENA, a California
  18 municipal entity; STEVE KIM, an
     individual; BRIAN PARK, an
  19 individual; ARNOLD PETERSON, an
     individual; CHAD AMERINE, an
  20 individual; JASON HOOKER, an
     individual; NICHOLAS BEERLING,
  21 an individual; MARK THOMPSON, an
     individual; WILLIAM
  22 MCREYNOLDS, an individual;
     GEORGE BUKHIN, an individual; and
  23 DOES 1-100, inclusive,
  24              Defendants.
  25
  26
  27
  28

           NOTICE OF REMOVAL OF ACTION BY DEFENDANTS PURSUANT TO 28 U.S.C. § 1441(b)
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   1        To the Clerk and Honorable Judges of the United States District Court for
   2 the Central District of California:
   3        PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. § 1441(a), Defendants
   4 STEVE KIM, BRIAN PARK, ARNOLD PETERSON, CHAD AMERINE, JASON
   5 HOOKER, NICHOLAS BEERLING, MARK THOMPSON, and WILLIAM
   6 MCREYNOLDS ("Officer Defendants") remove to this Court the state court action
   7 described below:
   8                              STATE COURT ACTION
   9        1.     On June 1, 2021, an action was commenced in the Superior Court of the
  10 State of California, County of Los Angeles, entitled Roshawn Douglas, et al. v. City
  11 of Gardena, et al., state case number 21STCV20536. This initial Complaint, which
  12 is the operative Complaint in the action, named as Defendants the City of Gardena
  13 and several individuals: (1) Steve Kim; (2) Brian Park; (3) Arnold Peterson; (4)
  14 Mayda Zelaya; (5) Chad Amerine; (6) Jason Hooker; (7) Nicholas Beerling, (8) Mark
  15 Thompson; (9) William McReynolds; and (10) George Bukhin (collectively
  16 "Defendants").
  17        2.     The Complaint alleges fourteen (14) causes of action, including civil
  18 rights violations pursuant to 42 U.S.C. § 1983.
  19                          RECORD FROM STATE COURT
  20        3.     A true and correct copy of the conformed Complaint that was filed on
  21 June 1, 2021 and served on the Officer Defendants on July 7, 2021 and Defendant
  22 City of Gardena (the "City") on July 2, 2021 for this state court action is attached
  23 herewith as Exhibit A.
  24        4.     A true and correct copy of the conformed Summons that was filed on
  25 June 4, 2021 and served on Defendant City of Gardena on July 2, 2021 for this state
  26 court action is attached herewith as Exhibit B.
  27        5.     A true and correct copy of the conformed Proofs of Personal Service for
  28 each individual Defendant is attached herewith as Exhibits C through L. However,

                                               2
            NOTICE OF REMOVAL OF ACTION BY DEFENDANT PURSUANT TO 28 U.S.C. § 1441(b)
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   1 the Proof of Personal Service for Defendant George Bukhin is invalid (Exhibit L), as
   2 he is not an employee of the City of Gardena.
   3         6.    A true and correct copy of the conformed Proof of Personal Service for
   4 Defendant City of Gardena is attached herewith as Exhibit M.
   5         7.    A true and correct copy of the conformed Civil Case Cover Sheet for this
   6 state court action is attached herewith as Exhibit N.
   7         8.    A true and correct copy of the conformed Notice of Case Assignment –
   8 Unlimited Civil Case for this state court action is attached herewith as Exhibit O.
   9         9.    A true and correct copy of the Notice of Case Management Conference
  10 for this state court action is attached herewith as Exhibit P.
  11         10.   A true and correct copy of the Notice of Posting of Jury Fees by Plaintiff
  12 Roshawn Douglas is attached herewith as Exhibit Q.
  13         11.   A true and correct copy of the conformed Answer of Defendant City of
  14 Gardena is attached herewith as Exhibit R.
  15         12.   A true and correct copy of the conformed Answer of Defendant Officers
  16 is attached herewith as Exhibit S.
  17                     TIMELINESS OF NOTICE OF REMOVAL
  18         13.   The Officer Defendants were personally served on July 7, 2021. The 30-
  19 day removal period under 28 U.S.C. § 1446(b)(1) runs from this service date. Since
  20 the service date was July 2, 2021, the 30-day removal period ends on August 6, 2021.
  21 Therefore, this removal notice is timely, as it is being filed on or before August 6,
  22 2021.
  23                             REMOVAL JURISDICTION
  24         14.   Plaintiff's Complaint included federal law claims under 42 U.S.C. § 1983
  25 against all defendants. These federal claims appear in counts 1 through 7 of the
  26 Complaint. (Ex. A, ¶¶54-137.) Specifically, count 1 invokes 42 U.S.C. § 1983 and
  27 alleges that Defendants Park and Kim acted under the color of state law and
  28 unlawfully detained Plaintiff in violation of the Fourth Amendment to the United

                                                 3
             NOTICE OF REMOVAL OF ACTION BY DEFENDANT PURSUANT TO 28 U.S.C. § 1441(b)
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   1 States Constitution. (Id., ¶¶55-68.) In count 2, Plaintiff alleges that Defendant
   2 Officers used excessive force against Plaintiff, also under the color of state law and
   3 in violation of the Fourth Amendment. (Id., ¶¶70-83.) Count 3 claims that Defendant
   4 Officers violated Plaintiff's Fourth Amendment right when they falsely arrested him
   5 without probable cause. (Id., ¶¶85-96.) In Count 4, Plaintiff alleges due process
   6 claims under the Fourteenth Amendment to the United State Constitution and
   7 pursuant to 42 U.S.C. § 1983. Plaintiff contends that Defendants Kim and Park
   8 initiated an arbitrary traffic stop, employed excessive force onto Plaintiff without
   9 justification, unlawfully arrested Plaintiff, and illegally drove and impounded his
  10 vehicle. (Id., ¶¶98-108.) Counts 5 through 7 allege Defendant City of Gardena failed
  11 to properly train, supervise, and discipline Defendant Officers, as well as ratified their
  12 actions and maintained unconstitutional policy, invoking 42 U.S.C. § 1983 and
  13 Monell v. Department of Social Services of the City of New York, 436 U.S. 658 (1978.)
  14         15.    These federal claims are causes of actions over which this Court has
  15 original jurisdiction under 28 U.S.C. §§ 1331 and 1343(a)(3). The action is therefore
  16 subject to removal to this Court pursuant to 28 U.S.C. § 1441(a).
  17         16.    This Court has supplemental jurisdiction over Plaintiffs' state law claims
  18 pursuant to 28 U.S.C. § 1367(a). The state law claims are based on the same alleged
  19 events and transactions that are raised by Plaintiffs in support of their claims that arise
  20 under the federal constitution and federal statute. (Ex. 1, ¶¶26-43.)
  21                                          VENUE
  22         17.    The state action was filed in the Los Angeles County Superior Court.
  23 The primary events giving arise to the action are alleged to have occurred in the
  24 County of Los Angeles. Plaintiff alleges in the Complaint that he is a resident of the
  25 County of Los Angeles. Defendant City of Gardena transacts business in the County
  26 of Los Angeles. Therefore, venue in the Western Division of this Court is proper
  27 pursuant to 28 U.S.C. §§ 84(c)(2) and 1391(b).
  28

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            NOTICE OF REMOVAL OF ACTION BY DEFENDANT PURSUANT TO 28 U.S.C. § 1441(b)
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   1                                   RELATED CASES
   2         18.   To the best of Defendant's knowledge, there are no related cases pending
   3 in this Court.
   4        JOINDER/CONSENT BY OTHER DEFENDANTS IN REMOVAL
   5         19.   As undersigned counsel represents Defendants City of Gardena, Steve
   6 Kim, Brian Park, Arnold Peterson, Chad Amerine, Jason Hooker, Nicholas Beerling,
   7 Mark Thompson, and William McReynolds, all consent to this removal. (See 42
   8 U.S.C. 1446(b)(2)(C). Additionally, while a proof of service has been filed for
   9 individual George Bukhin, it is Defendant Officers' understanding that he has not been
  10 properly served, and thus, his consent or joinder to this removal is unnecessary. See
  11 42 U.S.C. § 1446(b)(2)(A).
  12                      NOTIFICATION TO ADVERSE PARTY
  13         20.   This Notice of Removal will be promptly served on Plaintiff (through his
  14 attorney of record) and a copy of the same will be filed with the Clerk of the Superior
  15 Court of the State of California, County of Los Angeles.
  16                                     CONCLUSION
  17         Accordingly, this action is subject to removal from state to federal court, and
  18 Defendant City of Gardena respectfully requests that this civil action be removed from
  19 the Superior Court of the State of California, County of Los Angeles, to the Western
  20 Division of the United States District Court for the Central District of California.
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            NOTICE OF REMOVAL OF ACTION BY DEFENDANT PURSUANT TO 28 U.S.C. § 1441(b)
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   1 DATED: August 5, 2021              MANNING & KASS
                                        ELLROD, RAMIREZ, TRESTER LLP
   2
   3
   4                                    By: /s/ Angela M. Powell
   5                                        Eugene P. Ramirez
                                            Angela M. Powell
   6
                                            Steven McNicholl
   7                                        Attorneys for Defendants CITY OF
   8                                        GARDENA, STEVE KIM, BRIAN PARK,
                                            ARNOLD PETERON, CHAD AMERINE,
   9                                        JASON HOOKER, NICHOLAS
  10                                        BEERLING, MARK THOMPSON, and
                                            WILLIAM MCREYNOLDS
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           NOTICE OF REMOVAL OF ACTION BY DEFENDANT PURSUANT TO 28 U.S.C. § 1441(b)
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                               EXHIBIT C




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Electronically FILED by Superior Court of California, County of Los Angeles on 07/22/2021 05:10 PM Sherri R. Carter, Executive Officer/Clerk of Court, by M. Panganiban,Deputy Clerk
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                                                                                                                                                                          POS-010
              ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address)                                                         FOR COURT USE ONLY
              YANA G. HENRIKS, ESQ SBN 250638
              MCMURRAY HENRIKS, LLP
              811 WILSHIRE BLVD SUITE 1640
              LOS ANGELES, CA 90017
                        TELEPHONE NO: 323-931-6200                  FAX NO (Oplional/:
              E-MAI LAD DRESS (Optionalj:
                 ATTORNEY FOR (Name): PLAINTIFF
              SUP ERi OR COURT OF CALIFORNIA, COLI NTY OF Los Angeles
                STREET ADDRESS: 111 N Hill St
              MAI LING ADDRESS:
              CITY AND ZIP CODE: Los Angeles, 90012
                  BRANCH NAME: STANLEY MOSK COURTHOUSE
                 PLAINTIFF/ PETITIONER: ROSHAWN DOUGLAS                                                                       CASE NUMBER:
              DEFENDANT/ RESPONDENT: CITY OF GARDENA                                                                          21STCV20536
                                                                                                                              Ref. No. or File No.:
                                               PROOF OF SERVICE OF SUMMONS                                                    5856248
                                                             (Separate proof of seNice is required for each parry seNed.)
            1.   At the time of service I was at least 18 years of age and not a party to this action.

                     m
            2.   I served copies of:
                 a,         summons
                 b.  W      complaint
                 c.  W      Alternative Dispute Resolution (ADR) package, FIRST AMENDED GENERAL ORDER
                 d.  W      Civil Case Cover Sheet (served in complex cases only)
                 e.  D      cross-complaint
                 f.  W      other (specify documents): NOTICE OF CASE MANAGEMENT CONFERENCE, NOTICE OF CASE ASSIGNMENT
            3.   a. Party ser11ed (specify name of party as shown on documents seNed):
                      ARNOLD PETERSON
                 b.  W      Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under item Sb on
                            whom substituted service was made) (specify name and relationship to the party named in item 3a):
                            ANAHI CORTE, PERSON AUTHORIZED TO ACCEPT SERVICE
            4.   Address where the party was served:
                  1700 W 162ND ST, GARDENA, CA 90247
            5.   I served the party (check proper box)
                 a. [K] by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
                            receive service of process for the party (1) on (date): Wed, Jul 07 2021                    (2) at (time): 04:23 PM
                 b.  D      by substituted service. On (date):                                   at (time):                                I left the documents listed in
                            item 2 with or in the presence of (name and title or relationship to person indicated in item 3):

                             ( 1)   D    (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the person co
                                         be served. I informed him or her of the general nature of the papers.
                             (2)    D    (home) a competent member of the household (at least 18 years of age) at th1; dwelling house or usual place of abode of
                                         the party. I informed him or her of the general nature of the papers.
                             ( 3)   D    (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing address of the
                                         person to be served, other than a United Scates Postal Service post office box. I informed him or her of the general nature
                                         of the papers.
                             (4 )   D    I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the place
                                         where the copies were left (Code Civ. Proc.,§ 415.20). I mailed the documents on (dote):
                                         from (city):                                                                      or        D
                                                                                                                                   a declaration of maili.1g is atlached.
                             (5)    D    I attach a declaration of diligence stating actions taken first to attempt personal service.




            Form Adopted for Mandatory Use                                  PROOF OF SERVICE OF SUMMONS                                                                    Page 1 of2
            Judicial Cound of California                                                                                                              Code of Civil Procedure,§ 417.10
            POS-01 O [Rev.January 1, 2007]

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    PLAINTIFF/ PETITIONER: RO SHAWN DOUGLAS                                                                           CASE NUMBER:
 DEFENDANT/ RESPONDENT: CITY OF GARDENA                                                                               21STCV20536


5.    c.   D         by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the address shown in item
                     4, by first-c la ss mail, postage prepaid,
                     (1) on (date):                                                (2) from (city) :
                     (3)  D         with two copies of the Nacice and Acknowledgment of Receipt and a postage-pa id return envelope addressed to me. (Artach
                                    completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc.,§ 415.30 .)
                     (4)  D         to an address outsic'e California with return receipt requested . (Code Civ. Proc.,§ 415.40.)
      d.   D         by other means (specify means of service and authorizing code section):


           D         Additional page describing service is attached.
6.    The "Not ice to the Person Served" (on the summons) was completed as follows :
      a. [TI as an indi vidua l defenda nt.
      b.   D         as the person sued under the fictitious name of (specify):
      c.   D         as occupant.
      d.   D         On behalf of (specify):
                     under the follow ing Code of Civil Procedure section:
                     D     416.10 (corporation)                                               D      415.95 (business organization, form unknown)
                     D          416.2 0 (defunct corporation)                                 D      416.60 (minor)
                     D          416.3 0 Uoint stock company/ association)                     D      416. 70 (ward or conservatee)
                     D          416.40 (assoc ia tion or partnership)                         D      416.90 (auth oriz ed person)
                     D          416.50 (pub li c entity)                                      D      415.46 (occupant)
                     D          other:
7.    Person who served papers
      a. Name:                       CHRI S RODRIGUEZ
      b. Address:                    288 E LIVE OAK AVE SUITE A501, ARCAD IA, CA 91006
      C.  Telephone number:          (323) 803-3660
      d. The fee for service was: $68.00
      e. I am:
          (1)      D not a registe red California process server.
           (2)     D      exempt from registrati on under Business and Professions Code section 22350(b).
           (3)     [TI    a registered California process server:
                          (i)      [TI owner       D       employee   D   ind epen dent contractor
                          (ii) Registration No: 2017 -272254
                          (iii) County: LOS ANGELES
s.    m          I declare under penalty of perjury under the laws of the State of Californ ia that the foregoing is true and correct.
                 or
9.    D          I am a California sheriff or marshal and I certify t hat t he foregoing is true and correct.




Date:      07107 / 20:1
CHRIS RODRIGUEZ
     (NAME OF PERSON WHO SERVED PAPERS/ SH ERIFF OR MARSHAL)




POS-01 O[Rev.January 1, 2007]                                           PROOF OF SERVICE OF SUMMONS                                                    Page 2 of 2


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                               EXHIBIT D




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Electronically FILED by Superior Court of California, County of Los Angeles on 07/22/2021 05:10 PM Sherri R. Carter, Executive Officer/Clerk of Court, by M. Panganiban,Deputy Clerk
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                                                                                                                                                                         POS-010
             ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address)                                                         FOR COURT USE ONLY
             YANA G. HENRIKS, ESQ SBN 250638
             MCMURRAY HENRI KS, LLP
             811 WILSHIRE BL'✓D SUITE 1640
             LOS ANGELES. CA 90017
                      TELEPHONE NO: 323-931-6200                   FAX NO (Optional):
             E-MAIL ADDRESS (Optiona0:
                ATTORNEY FOR (Nome): PLAINTIFF
             SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
               STREET ADDRESS: 111 N Hill St
             MAILING ADDRESS:
             CITY AND ZIP CODE: Los Angeles, 90012
                 BRANCH NAME: STANLEY MOSK COURTHOUSE
                PLAINTIFF/ PETITIONER: ROSHAWN DOUGLAS                                                                       CASE NUMBER:
             DEFENDANT/ RESPONDENT: CITY OF GARDENA                                                                          21 STCV20536
                                                                                                                             Ref. No. or File No.:
                                              PROOF OF SERVICE OF SUMMONS                                                    5856248
                                                              (Separate proof of seNice is required for each parry seNed.)
            1.    At the time of service I was at least 18 years of age and not a party to this action.
            2.    I served copies of:
                  a.  W      summons
                  b.  W      complaint
                  c.  W      Alternative Dispute Resolution (ADR) package, FIRST AMENDED GENERAL ORDER
                  d.  W      Civil Case Cover Sheet (seNed in complex cases only)
                  e.  D      cross-complaint
                  f.  W      other (specify documents): NOTICE OF CASE MANAGEMENT CONFERENCE, NOTICE OF CASE ASSIGNMENT
            3.    a. Party served (specify name of party as shown on documents seNed):
                       BRIAN PARK
                  b. []] Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under item Sb on
                             whom substituted service was made) (specify name and relationship ta the party named in item 3a):
                             ANAHI CORTE, PERSON AUTHORIZED TO ACCEPT SERVICE
            4.    Address where the party was served:
                   1700 W 162N D ST, GARDE NA, CA 9024 7
            5.    I served the party (check proper box)
                  a. (]] by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
                             receive service of process for the party (1) on (date): Wed, Jul 07 2021                    (2) at (time): 04:23 PM
                  b.  D      by substituted service. On (date):                                   at (time):                                I left the documents listed in
                             item 2 with or in the presence of (name and title or relationship to person indicated in item 3):

                             (1)   D     (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the person to
                                         be served. I informed him or her of the general nature ofche papers.
                             (2)   D     (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of abode of
                                         the party. I informec him or her of the general nature of the papers.
                             (3)   D     (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing address of the
                                         person to be served, other than a United States Postal Service post office box. I informed him or her of the general nacure
                                         of the papers.
                             (4)   D     I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the place
                                         where the copies were left (Code Civ. Proc.,§ 415.20). I mailed the documents on (date):•
                                         from (city):                                                                     or        D
                                                                                                                                   a declaration of mailing is attached.
                             (5)   D     I attach a declaration of diligence stating actions taken first to attempt personal service.




            Form Adopted for Mandatory Use                                  PROOF OF SERVICE OF SUMMONS                                                                   Page 1 of2
            Judicial Council of California                                                                                                           Code of Civil Procedure,§ 417.10
            POS-010 [Rev.January 1, 2007]

                                                                                                                                                        Page 000045
     Case 2:21-cv-06327-JFW-MAR Document 1 Filed 08/05/21 Page 46 of 103 Page ID #:46

    PLAINTIFF / PETITIONER: RO SHAWN DOUGLAS                                                                       CASE NUMBER :
 DEFENDANT/ RESPONDENT: CITY OF GARDENA                                                                            21 STCV20536


5.    c.   D         by mail and acknowledgment of receipt of service. I mailed the documents l isted in ite m 2 to the party, to the address shown in item
                     4, by first-class mail, postage prepaid,
                     (1) on (date):                                              (2) from (city):
                     (3)  D        with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed to me. (Attach
                                   completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc.,§ 41 5.30.)
                     (4)  D        to an address outside California with return receipt requested . (Code Civ. Proc.,§ 415.40.)
      d.   D         by other means (specify means cf service and authorizing code section):


           D         Additional page describing service is attached.
6.   The "Notice to the Person Served" (on the summons) was completed as follows:
     a. [ ] ] as an individua l defendant.
      b.   D         as the person sued under the fictitious name of (specify):
      c.   D         as occupant.
      d.   D         On behalf of (specify):
                     under the following Code of Civil Procedure section:
                     D     416.1 O (corporation)                                           D      415.95 (business organization, form unknown)
                     D      416.2 0 (defunct corporation)                                  D      416.60 (minor)
                     D      416.30 (joint stock company/association)                       D      416. 70 {ward or conservatee)
                     D          416.40 (association or partnership)                        D      416.90 (authorized person)
                     D          416.50 (public entity)                                     D      415.46 (occupant)
                     D          other:
7.    Person who served papers
      a. Name:                      CHRIS RODRIGUEZ
      b. Address:                   288 E LIVE OAK AVE SUITE A501, ARCADIA, CA 91006
      c. Telephone number:          (323) 803-3660
      d. The fee for service was: $68.00
      e. I am:
          (1)      D not a registered California process server.
           (2)     D      exempt from registration under Business and Professions Code section 22350(b).
           (3)     []J    a registered California process server:
                          (i)      [ ] ] owner   D       employee   D    independent contractor
                          (ii)  Registration No: 2017 -272254
                          (iii) County: LOS ANGELES
8.   []]         1 declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
                 or
9.    D          I am a California sheriff or marshal and I certify that the foregoing is true and correct.




Date:      07 / 0712021
CHRIS RODRIGUE;::
     (NAME OF PERSON WHO SERVED PAPERS/ SHERIFF OR MARSHAL)                                                            (SIGNATURE




POS-010 [Rev.January 1, 2007]                                           PROOF OF SERVICE OF SUMMONS                                                   Page 2 of2


                                                                                                                                        Page 000046
Case 2:21-cv-06327-JFW-MAR Document 1 Filed 08/05/21 Page 47 of 103 Page ID #:47




                               EXHIBIT E




                                                                     Page 000047
Electronically FILED by Superior Court of California, County of Los Angeles on 07/22/2021 05:10 PM Sherri R. Carter, Executive Officer/Clerk of Court, by M. Panganiban,Deputy Clerk
              Case 2:21-cv-06327-JFW-MAR Document 1 Filed 08/05/21 Page 48 of 103 Page ID #:48

                                                                                                                                                                      POS-010
             ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address)                                                      FOR COURT USE ONLY
             YANA G. HENRIKS, ESQ SBN 250638
             MCMURRAY HENRI KS, LLP
             811 WILSHIRE BLVD SUITE 1640
             LOS ANGELES, CA 90017
                      TELEPHONE NO: 323-931-6200                   FAX NO (Optional):
             E-MAIL ADDRESS (Optional):
                ATTORNEY FOR (Name): PLAINTIFF
             SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
               STREET ADDRESS: 111 N Hill St
             MAI LING ADDRESS:
             CITY AND ZIP CODE: Los Angeles, 90012
                 BRANCH NAME: STANLEY MOSK COURTHOUSE
                PLAINTIFF/ PETITIONER: ROSHAWN DOUGLAS                                                                       CASE NUMBER:
             DEFENDANT/ RESPONDENT: CITY OF GARDENA                                                                          21 STCV20536
                                                                                                                        Ref. No. or File No.:
                                              PROOF OF SERVICE OF SUMMONS
                                                                                                                        5856248
                                                           (Separate proof of service is required for each party served.)
            1. At the time of service I was at least 18 years of age and not a party to this action.
            2. I served copies of:
               a.    [X]  summons
               b.    [X]  complaint
               c.    W    Alternative Dispute Resolution (ADR) package, FIRST AMENDED GENERAL ORDER
               d.    [X]  Civil Case Cover Sheet (served in complex cases only)
               e.    D    cross-complaint
               f.    W    other (specify documents): NOTICE OF CASE MANAGEMENT CONFERENCE, NOTICE OF CASE ASSIGNMENT
            3. a. Party served (specify name of party as shown on documents served):
                    CHAD ARMERINE
               b.    [X]  Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under item Sb on
                          whom substituted service was made) (specify name and relationship to the party named in item 3a):
                          ANAHI CORTE, PERSON AUTHORIZED TO ACCEPT SERVICE
            4. Address where the party was served:
               1700 W 162ND ST, GARDENA, CA 90247
            5. I served the party (check proper box)
               a. [X] by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
                          receive service of process for the party (1) on (date): Wed, Jul 07 2021                     (2) at (time): 04:23 PM
               b.    D    by substituted service. On (date):                                    at (time):                                    I left the documents listed in
                          item 2 with or in the presence of (name and title or relationship to person indicated in item 3):

                            (1)0 (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the person co
                                 be served. I informed him or her of the general nature of the papers.
                            c2i D(home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of abode of
                                 the party. I informed him or her of the general nature of the papers.
                            c3> D(physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing address of the
                                 person to be served, other than a United States Postal Service post office box. I informed him or her of the general nature
                                 of the papers.
                            <4> DI thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the place
                                 where the copies were left (Code Civ. Proc.,§ 415.20). I mailed the documents on (date):
                                 from (city):                                                                     or               D
                                                                                                                           a declaration of mailing is attached.
                            (5)  D
                                 I attach a declaration of diligence stating actions taken first to attempt personal service.




            Form Adopted for Mandatory Use                                  PROOF OF SERVICE OF SUMMONS                                                                Page 1 of2
            Judicial Council of California                                                                                                        Code of Civil Procedure,§ 417.10
            POS-010 [Rev.January 1, 2007)

                                                                                                                                                      Page 000048
     Case 2:21-cv-06327-JFW-MAR Document 1 Filed 08/05/21 Page 49 of 103 Page ID #:49

    PLAINTIFF/PETITIONER: ROSHAWN DOUGLAS                                                                             CASE NUMBER:
 DEFENDANT/ RESPONDENT: CITY OF GARDENA                                                                               21STCV20536

5.    c.   D         by mail and acknowledgment of receipt of service. I mailed the documents list ed in item 2 to the party, to t he address shown in item
                     4, by first -cla ss mail, postage prepaid,
                     (1) on (date):                                               (2) from (city):
                     (3)  D         with two cop ies of t he Notice and Acknowledgment of Receipt and a postage-paic return envelope add re ssed to me. (Attach
                                    completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc.,§ 415 .30. )
                     (4)  D         to an address outside California with return recei pt requested. (Code Civ. Proc.,§ 415.40.)
      d.   D         by other means (specify means of service and authorizing code section):

           D         Additional page describing se rvice is attached.
6.    The "Notice to the Pe rson Served" (o n the summons) was compl eted as follows:
      a. IT] as an individua l defendant.
      b.   D         as the person sued under the fictitious name of (specify):
      c.   D         as occupant .
      d.   D         On beha lf of (specify):
                     under the following Code of Ci vil Proce dure section:
                     D     416.10 (corporation)                                              D      415.95 (busin ess organ iz at ion, form unknown)
                     D          416.20 (defunct corporation)                                 D      416 .60 (minor)
                     D          416 .30 (j oint stock company/ associa t ion)                D      416.70 (ward or conservatee )
                     D          416.40 (associatio n or partnership)                         D      416.90 (authorized person)
                     D          416 .50 (public entity)                                      D      415.46 (occupant)
                     D          other:
7.    Person who served papers
      a. Name :                     CHRIS RODRIGUE Z
      b. Address:                   288 E LIVE OAK AVE SUITE A501, ARCADIA, CA 91006
      c. Telephone number:          (323) 803-3660
      d. The fee for service was: $68.00
      e. I am:
          (1)      D not a registered Ca li fornia process server.
           (2)     D      exempt from registration under Business and Professions Code section 22350(b).
           (3)     [X]    a registered California process server:
                          (i)      IT] owner      D       employee   D     independent contractor
                          (ii) Registration No: 2017-272254
                          (iii) County: LOS ANGELES
8.   IT]         I declare under pena lty of perjury under the laws of the State of Cal ifornia that the foregoing is true and correct.
                 or
9.    D          I am a California sheriff or marshal and I certify that the foregoing is true and correct.




Date:      07/07/202 1
CHRIS RODRIGUEZ
     (NAME OF PERSON WHO SERVED PAPERS/ SHERIFF OR MARSHAL)




POS-010 [Rev.January 1, 2007)                                           PROOF OF SERVICE OF SUMMONS                                                       Page 2 of2


                                                                                                                                            Page 000049
Case 2:21-cv-06327-JFW-MAR Document 1 Filed 08/05/21 Page 50 of 103 Page ID #:50




                               EXHIBIT F




                                                                     Page 000050
Electronically FILED by Superior Court of California, County of Los Angeles on 07/22/2021 05:10 PM Sherri R. Carter, Executive Officer/Clerk of Court, by M. Panganiban,Deputy Clerk
                 Case 2:21-cv-06327-JFW-MAR Document 1 Filed 08/05/21 Page 51 of 103 Page ID #:51

                                                                                                                                                                         POS-010
             ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address}                                                         FOR COURT USE ONLY
             YANA G. HENRIKS. ESQ SBN 250638
             MCMURRAY HENRI KS, LLP
             811 WILSHIRE BLVD SUITE 1640
             LOS ANGELES, CA 90017
                      TELEPHONE NO: 323-931-6200                   FAX NO (Optional}:
             E-MAIL ADDRESS (Optional}:
                ATTORNEY FOR (Name}: PLAINTIFF
             SUPERIOR COURT OF CAL IFORNIA, COUNTY OF Los Angeles
                                                                                                                    ..
               STREET ADDRESS: 111 N Hill St
             MAI LI NG ADD RESS:
             CITY AND ZIP CODE: Los Angeles, 90012
                 BRANCH NAME: STANLEY MOSK COURTHOUSE
                PLAINTIFF/ PETITIONER: ROSHAWN DOUGLAS                                                                       CASE NUMBER:
             DEFENDANT/ RESPONDENT: CITY OF GARDENA                                                                          21STCV20536
                                                                                                                             Ref. No. or File No.:
                                              PROOF OF SERVICE OF SUMMONS
                                                                                                                             5856248
                                                               (Separate proof of service is required for each party served.)
            1.    At the time of service I was at least 18 years of age and not a party to this action.
            2.    I served copies of:
                  a.  W      summons
                  b.  W      complaint
                  c.  W      Alternative Dispute Resolution (ADR) package, FIRST AMENDED GENERAL ORDER
                  d.  W      Civil Case Cover Sheet (served in complex cases only)
                  e.  D      cross-complaint
                  f.  W      other (specify documents): NOTICE OF CASE MANAGEMENT CONFERENCE, NOTICE OF CASE ASSIGNMENT
            3.    a. Party served (specify name of party as shown on documents served):
                      JASON HOOKER
                  b.  W      Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under item Sb on
                             whom substituted service was made) (specify name and relationship to the party named in item 3a):
                             ANAHI CORTE, PERSON AUTHORIZED TO ACCEPT SERVICE
            4.    Address where the party was served:
                  1700 W 162ND ST, GARDENA, CA 90247
            5.    I served the party (check proper box)
                  a. []J by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
                             receive service of process for the party (1) on (date): Wed, Jul 07 2021                    (2) at (time): 04:23 PM
                  b. D by substituted service. On (date):                                        at (time):                                 I left the documents listed in
                             item 2 with or in the presence of (name and title or relationship to person indicated in item 3):

                             (1)0 (business) a person at least 18 years of age apparently in charge ac the office or usual place of business of the person to
                                   be served. I informed him or her of the general nature of the papers.
                             c2>  D(home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of abode of
                                   the party, I informed him or her of the general nature of the papers.
                             (3>  D(physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing address ofche
                                   person to be served, other than a United States Postal Service pose office box. I informed him or her of the general nature
                                   of the papers.
                             (4>  DI thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the place
                                   where the copies were left (Code Civ. Proc.,§ 415.20). I mailed the documents on (date):
                                   from (city):                                                                      orD a declaration of maili,1g is attached.
                             (5) D I attach a declaration of diligence stating actions taken first co attempt personal service.




            Form Adopted for Mandatory Use                                  PROOF OF SERVICE OF SUMMONS                                                                   Page 1 of2
            Judicial Council of California                                                                                                           Code of Civil Procedure,§ 417.10
            POS-010 [Rev.January 1, 2007]

                                                                                                                                                         Page 000051
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    PLAINTIFF / PETITIONER: RO SHAWN DOUGLAS                                                                               CASE NUMBER :
 DEFENDANT / RESPONDENT: CITY OF GARDENA                                                                                   21STCV20536


5.    c.   D         by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the address shown in it em
                     4, by first -cla ss mail, postage prepaid.
                     {1) on (date):                                         {2) from (city) :
                     {3)      D          w ith two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed to me . (Attach
                                         completed Notice and Acknowledgement of Receipt.) {Code Civ. Proc., § 415.30.)
                     {4)      D          to an address outsice California with return receipt requested. {Code Civ. Proc.,§ 415.40 .)
      d.   D         by other means (specify means of service and authorizing code section):


           D         Additional page describing se rvice is attached.
6.    The "Notice to the Person Served " (on the summons) was completed as fol lows:
      a.   [Kl  as an individua l defendant.
      b.   D         as the person sued under the fictitious name of (specify):
      c.   D         as occupant.
      d.   D         On behalf of (specify):
                     under the follow ing Code o f Civil Procedure section:
                     D     416.10 (corporation)                                                 D      415.95 {bus iness organization, form unknown)
                     [.J            416.20 (defunct corporation)                                D      416. 60 {m i nor)
                     D              416 .30 0oint stock company/ associa t ion)                 D      416.70 (ward or conservatee)
                     D              416.40 (association or partnership)                         D      416.90 {authoriz ed person)
                     D              416.5 0 (public entity)                                     D      415.46 {oc cupant)
                     D              other:
7.    Person who served papers
      a. Name :                     CHRI S RODRIGUEZ
      b. Address:                   288 E LIVE OAK AVE SUITE A501, ARCADIA. CA 91006
      c. Telephone nu mbe r:        (323) 803-3660
      d. The fee for service was: $6 8.00
      e. I am:
          {1)      D not a registered California process server.
           {2)     D          exempt from registration under Business and Professi ons Code section 22350{b).
           (3)     [Kl        a registered California proress server:
                              {i)      IJ[] owner D           employee   D    independent contractor
                          {ii)   Regi stration No: 2017-272254
                          {iii ) County: LOS ANGELES
8.    [Kl        I declare under pena lty of perj ury under the laws of the State of Californ ia that the foregoing is true and correct.
                 or
9.    D          I am a California sheriff or marshal and I certify t ha t t he fo regoing is true and correct.




Dare :     07 / 07 /20:.. 1
CHRIS RODRIGUE Z
     {N AME OF PERSON WHO SERVED PAPERS/ SH ERIFF OR MARSHAL)
                                                                                                                0              (SGNATURE~




POS-0 10 [R ev.Jan uary 1, 2007]                                             PROOF OF SERVICE OF SUMMONS                                                   Page 2 or2


                                                                                                                                            Page 000052
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                               EXHIBIT G




                                                                     Page 000053
Electronically FILED by Superior Court of California, County of Los Angeles on 07/22/2021 05:16 PM Sherri R. Carter, Executive Officer/Clerk of Court, by M. Panganiban,Deputy Clerk
              Case 2:21-cv-06327-JFW-MAR Document 1 Filed 08/05/21 Page 54 of 103 Page ID #:54

                                                                                                                                                                      POS-010
             ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address}                                                      FOR COURT USE ONLY
             YANA G. HENRIKS, ESQ SBN 250638
             MCMURRAY HENRIKS, LLP
             811 WILSHIRE BLVD SUITE 1 640
             LOS ANGELES, CA 90017
                      TELEPHONE NO: 323-931-6200                   FAX NO (Optional}:
             E-MAIL ADDRESS (Optionaf}:
                ATTORNEY FOR (Name}: PLAINTIFF
             SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
               STREET ADDRESS: 111 N Hill St
             MAI LING ADDRE�;:                     ',
             CITY AND ZIP CODE: Los Angeles, 90012
                 BRANCH NAME: STANLEY MOSK COURTHOUSE
                PLAINTIFF/ PETITIONER: ROSHAWN DOUGLAS                                                                       CASE NUMBER:
             DEFENDANT/ RESPONDENT: CITY OF GARDENA                                                                          21STCV20536
                                                                                                                        Ref. No. or File No.:
                                              PROOF OF SERVICE OF SUMMONS
                                                                                                                        5856248
                                                           (Separate proof of service is required for each party served.)
            1. At the time of service I was at least 18 years of age and not a party to this action.
            2. I served copies of:
               a.    00   summons
               b.    00   complaint
               c.    00   Alternative Dispute Resolution (ADR) package, FIRST AMENDED GENERAL ORDER
               d.    00   Civil Case Cover Sheet (served in complex cases only)
               e.    D    cross-complaint
               f.    00   other (specify documents): NOTICE OF CASE MANAGEMENT CONFERENCE, NOTICE OF CASE ASSIGNMENT
            3. a. Party served (specify name of party as shown on documents served):
                    MARK THOMPSON
               b. []] Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under item Sb on
                          whom substituted service was made) (specify name and relationship to the party named in item 3a):
                          ANAHI CORTE, PERSON AUTHORIZED TO ACCEPT SERVICE
            4. Address where the party was served:
               1700 W 162ND ST, GARDENA, CA 90247
            5. I served the party (check proper box)
               a. (]] by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
                          receive service of process for the party (1) on (date): Wed, Jul 07 2021                     (2) at (time): 04:23 PM
               b.    D    by substituted service. On (date):                                    at (time):                                    I left the documents listed in
                          item 2 with or in the presence of (name and title or relationship to person indicated in item 3):

                            (1)   D      (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the person to
                                         be served. I informed him or her of the general nature of the papers.
                            (2)   D      (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of abode of
                                         the party. I informed him or her of the general nature of the papers.
                            (3)   D      (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing address of the
                                         person to be served, other than a United States Postal Service post office box. I informed him or her of the general nature
                                         of the papers.
                            (4)   D      I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the place
                                         where the copies were left (Code Civ. Proc.,§ 415.20). I mailed the documents on (date):
                                         from (city):                                                                     or       D
                                                                                                                                   a declaration of mailing is attached.
                            (5)   D      I attach a declaration of diligence stating actions taken first to attempt personal service.




            Form Adopted for Mandatory Use                                  PROOF OF SERVICE OF SUMMONS                                                                Page 1 of2
            Judicial Council of California                                                                                                        Code of Civil Procedure,§ 417.10
            POS-01 o [Rev.January 1, 2007]

                                                                                                                                                      Page 000054
Case 2:21-cv-06327-JFW-MAR Document 1 Filed 08/05/21 Page 55 of 103 Page ID #:55




                               EXHIBIT H




                                                                     Page 000055
                 Case 2:21-cv-06327-JFW-MAR Document 1 Filed 08/05/21 Page 56 of 103 Page ID #:56
Electronically FILED by Superior Court of California, County of Los Angeles on 07/22/2021 05:10 PM Sherri R. Carter, Executive Officer/Clerk of Court, by M. Panganiban,Deputy Clerk


                                                                                                                                                                         POS-010
              ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address)                                                        FOR COURT USE ONLY
              YANA G. HENRIKS, ESQ SBN 250638
              MCMURRAY HENRI KS, LLP
              811 WILSHIRE BLVD SUITE 1640
              LOS ANGELES, CA 90017
                        TELEPHONE NO: 323-931-6200                  FAX NO (Optional):
              E·MAI LAD DRESS (Optionalj:
                 ATTORNEY FOR (Name): PLAINTIFF
              SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
                STREET ADDRESS: 111 N Hill St
              MAILING ADDRESS:
              CITY AND ZIP CODE: Los Angeles, 90012
                  BRANCH NAME: STANLEY MOSK COURTHOUSE
                 PLAINTIFF/ PETITIONER: ROSHAWN DOUGLAS                                                                      CASE NUMBER:
              DEFENDANT/ RESPONDENT: CITY OF GARDENA                                                                         21 STCV20536
                                                                                                                             Ref. No. or File No.:
                                              PROOF OF SERVICE OF SUMMONS
                                                                                                                             5856248
                                                              (Separate proof of service is required for each party served.)
            1.    At the time o, service I was at least 18 years of age and not a party to this action.
            2.    I served copies of:
                  a.  W      summons
                  b.  W      complaint
                  c.  W      Alternative Dispute Resolution (ADR) package, FIRST AMENDED GENERAL ORDER
                  d.  W      Civil Case Cover Sheet (served in complex cases only)
                  e.  D      cross-complaint
                  f.  W      other (specify documents): NOTICE OF CASE MANAGEMENT CONFERENCE, NOTICE OF CASE ASSIGNMENT
            3.    a. Party served (specify name of party as shown on documents served):
                       MAYDA ZELAYA
                  b.  W      Person (other than the party in item 3a) served on behalf cf an entity or as an authorized agent (and not a person under item Sb on
                             whom substituted service was made) (specify name and relationship to the party named in item 3a):
                             ANAHI CORTE, PERSON AUTHORIZED TO ACCEPT SERVICE
            4.    Address where the party was served:
                  1700 W 162ND ST, GARDENA, CA 90247
            5.    I served the party (check proper box)
                  a. [KJ by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
                             receive service of process for the party (1) on (date): Wed, Jul 07 2021                     (2) at (time): 04:23 PM
                  b.  D      by substituted service. On (date):                                    at (time):                                 I left the documents listed in
                             item 2 with or in the presence of (name and title or relationship to person indicated in item 3):

                                         (business) a person at least 18 years of age apparently in charge at the office or usual place of business of tt>e person co
                             (1)0
                                         be served. I informed him or her of the general nature of the papers.
                             (2)   D     (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of abode of
                                         the party. I informed him or her of the general nature of the papers.
                             (3)   D     (physical address unknown) a person at I east 18 yea rs of age apparently in charge at the usual mailing address of the
                                         person to be served, other than a United States Postal Service post office box. I informed him or her of the general nature
                                         of the papers.
                             (4)   D     I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the place
                                         where the copies were left (Code Civ. Proc.,§ 415.20). I mailed the documents on (date):
                                         from (city):                                                                      or       D
                                                                                                                                   a declaration of mailing is attached.
                             (5)   D     I attach a declaration of diligence stating actions taken first to attempt personal service.




            Form Adopted for Mandatory Use                                  PROOF OF SERVICE OF SUMMONS                                                                   Page 1 of2
            Judicial Council of California                                                                                                           Code of Civil Procedure,§ 417.10
            POS-010 [Rev.January 1, 2007)

                                                                                                                                                        Page 000056
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    PLAINTIFF/ PETITI ONER: ROSHAWN DOUGLAS                                                                           CASE NUMBER :
 DEFENDANT I RESPOND ENT: CITY OF GARDENA                                                                             21STCV20536


5.    c.   D         by mail and acknowledgment of receipt of service. I mailed the documents l isted in item 2 to t he party, to the address shown in item
                     4, by first -cla ss mail, postage prepaid.
                     (1) on (date):                                                 (2) from (city):
                     (3)   D        with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return enve lope addressed to me . (Attach
                                    completed Notice and Acknowledgement of Receipt.) (Code Ci v. Proc., § 415.30.)
                     (4)   D        to an address outsid e California wit h return receipt requested. (Code Civ. Proc.,§ 415.40.)
      d.   D         by other means (specify means of service and authorizing code section):


           D         Additiona l page describi ng service is attached.
6.    The "Notice to the Person Served" (o n t he summons) was completed as foll ows:
      a.   W    as an individua l defendant.
      b.   D         as the person sued under t he fictit ious name of (specify):
      c.   D         as occupant.
      d.   D         On behalf of (specify):
                     under the fo ll owing Code of Civil Proce dure section:
                     D     416.1 O (corporation)                                              D      415.95 (bu siness organ iz ation, form unknown)
                     D           416.20 (defunct corporation)                                 D      416.60 (minor)
                     D           416 .30 Uoint stock compa ny/association)                    D      41 6.70 (ward or conservatee)
                     D           416.40 (association or part nership)                         D      416.90 {authorized person)
                     D           416.5 0 (publi c entity)                                     D      415.46 {occupant)
                     D           other:
7.    Person who served papers
      a. Name:                        CHRIS RODRIGUEZ
      b. Address:                     288 E LIVE OAK AVE SUITE A501, ARCADIA CA 91006
      c. Telephone number:            (323) 803-3660
      d. The fee for service was: $68.00
      e. I am:
          (1)      D not a regis t ered Ca li forn ia process server.
           (2)     D       exempt from registrat ion under Business and Professions Code section 22350(b).
           (3)     [K]     a registered Californ ia process server:
                           (i)      [K] owner       D       emp loyee   D   independent contractor
                          (ii)  Registration No: 2017-272254
                          (iii) County: LO S ANGELES
8.    ITJ        I declare under pena lty of perjury under the laws of the State of California that the foregoing is t rue and correct.
                 or
9.    D          I am a California sheriff or marshal and I certify that the foregoing is true and correct.




Date:      07 /0 7/ 2021
CHRIS RODRIGUEZ
     {N AME OF PERSON WHO SERVED PAPERS/ SHERIFF OR MARSHAL)




POS-01 0 [Rev.January 1, 2007]                                          PROOF OF SERVICE OF SUMMONS                                                       Page 2 of 2


                                                                                                                                            Page 000057
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                                EXHIBIT I




                                                                     Page 000058
Electronically FILED by Superior Court of California, County of Los Angeles on 07/22/2021 05:16 PM Sherri R. Carter, Executive Officer/Clerk of Court, by M. Panganiban,Deputy Clerk
              Case 2:21-cv-06327-JFW-MAR Document 1 Filed 08/05/21 Page 59 of 103 Page ID #:59

                                                                                                                                                                      POS-010
             ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, Seate Bar number, and address)                                                      FOR COURT USE ONLY
             YANA G. HENRIKS, ESQ SBN 250638
             MCMURRAY HENRIKS, LLP
             811 WILSHIRE BLVD SUITE 1640
             LOS ANGELES, CA 90017
                      TELEPHONE NO: 323-931-6200                   FAX NO (Opliona/J:
             E-MAIL ADDRESS (Optiona0:
                ATTORNEY FOR (Name): PLAINTIFF
              SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
                STREET ADDRESS: 111 N Hill St
              MAILING ADDRESS:
              CITY AND ZIP CODE: Los Angeles, 90012
                  BRANCH NAME: STANLEY MOSK COURTHOUSE
                PLAINTIFF/ PETITIONER: ROSHAWN DOUGLAS                                                                       CASE NUMBER:
             DEFENDANT/ RESPONDENT: CITY OF GARDENA                                                                          21STCV20536
                                                                                                                        Ref. No. or File No.:
                                               PROOF OF SERVICE OF SUMMONS
                                                                                                                        5856248
                                                           (Separate proof of service is required for each parry served.)
            1. At the time or service I was at least 18 years of age and not a party to this action.

               a.    m
            2. I served copies of:
                          summons
               b.    W    complaint
               c.    W    Alternative Dispute Resolution (ADR) package, FIRST AMENDED GENERAL ORDER
               d.    W    Civil Case Cover Sheet (served in complex cases only)
               e.    D    cross-complaint
               f.    W    other (specify documents): NOTICE OF CASE MANAGEMENT CONFERENCE, NOTICE OF CASE ASSIGNMENT
            3. a. Party served (specify name of party as shown on documents served):
                    NICHOLAS BEERLING
               b.    W    Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under item Sb on
                          whom substituted service was made) (specify name and relationship to the party named in item 3a):
                          ANAHI CORTE, PERSON AUTHORIZED TO ACCEPT SERVICE
            4. Address where the party was served:
               1700 W 162ND ST, GARDENA, CA 90247
            5. I served the party (check proper box)
               a. [K) by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
                          receive service of process for the party (1) on (date): Wed, Jul 07 2021                     (2) at (time): 04:23 PM
               b.    D    by substituted service. On (date):                                    at (time):                                    I left the documents listed 1n
                          item 2 with or in the presence of (name and title or relationship to person indicated in item 3):

                             (1)0        (business) a person at least 18 years of age apparently in charge at the office or usual place of business of tre person to
                                         be served. I informed him or her of the general nature of the papers.
                             (2)   D     (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of abode of
                                         the party. I informed him or her of the general nature of the papers.
                             (3)   D     (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing address of the
                                         person to be served, other than a United States Postal Service post office box. I informed him or her of the general nature
                                         of the papers.
                             <4>   D     I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the place
                                         where the copies were left (Code Civ. Proc.,§ 415.20). I mailed the documents on (date):
                                         from (city):                                                                     or       D
                                                                                                                                   a declaration of mailing is attached.
                             (5)   D     I attach a declaration of diligence stating actions taken first to attempt personal service.




            Form Adopted f or M andatory Use                                PROOF OF SERVICE OF SUMMONS                                                                Page 1 of2
            Judicial Council of California                                                                                                        Code of Civil Procedure,§ 417.10
            POS-010 [Rev.January 1, 2007)

                                                                                                                                                      Page 000059
     Case 2:21-cv-06327-JFW-MAR Document 1 Filed 08/05/21 Page 60 of 103 Page ID #:60

    PLAINTIFF/PETITIONER: RO SHAWN DOUGLAS                                                                          CASE NUMBER:
 DEFENDANT/ RESPONDENT: CITY OF GARDENA                                                                             21 STCV20536


5.    c.   D         by mail and acknowledgment of receipt of service. I mailed the documents li sted in ite m 2 to the party, to the address shown in item
                     4, by firs t-cla ss mail, postage prepaid,
                     (1) on (date):                                                (2) from (city):
                     (3) D          with two co pi es of the Notice and Acknowledgment of Receipt and a pos t age-pa id return envelope addressed to me. (Attach
                                    completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc.,§ 415. 30 .)
                     (4) D          to an address outs ide California with return receipt requested . (Code Civ. Proc.,§ 415.40.)
      d.   D         by other means (sp ecify means of setvice and authorizing code section):


           D         Additiona l page describing se rvice is attached.
6.    The "Notice to the Pe rs on Served " (on the summons) was compl eted as follows:
      a. [K] as an individua l defendant.
      b.   D         as the person sued under the fictitious name of (specify):
      c.   D         as occupant.
      d.   D         On beha lf of (specify):
                     under the fo llowing Code of Civi l Procedure section:
                     D     416.1 O (corporation)                                           D      415 .95 (business organization, form unknown)
                     D      41 6.20 (defu nct corporation)                                 D      41 6.60 (minor)
                     D          416.30 (j oint stock company/ association)                 D      41 6. 70 (ward or conservatee)
                     D          416.40 (association or partnership)                        D      415.90 (authorized person)
                     D          416.50 (public entity)                                     D      415.46 (occupant)
                     D          other:
7.    Person who served papers
      a. Name:                      CHRI S RODRIGUEZ
      b. Address:                   288 E LIVE OAK AVE SUIT E A501 , ARCADIA, CA 91006
      c. Tel ephone number:         (323) 803-3660
      d. The fee for service was: $68.00
      e. I am:
          (1)      D not a registered Ca li fo rnia process serve r.
           (2)     D      exempt from registration under Business and Professions Code section 22350(b).
           (3)     [K]    a regis te red California process server:
                          (i)      [K] owner D           employee   D    independent contractor
                         (ii)  Regist ra tion No: 2017-272254
                         (iii) County: LOS ANGELES
8.    [K]        I dedare under penalty of perjury under the laws of t he State of California that the foregoing is t rue and correct.
                 or
9.    D          I am a California sheriff or marshal and I certify that the foregoing is true and correct.




Date:      07/07/202 1
CHRIS RODRIGUEZ
     (N AME OF PERSON WHO SERVED PAPERS/ SHERIFF OR MARSHAL)
                                                                                                  (~ ~                  {SIGNATUR~




POS-01O [ Rev.January 1, 2007]                                          PROOF OF SERVICE OF SUMMONS                                                    Page 2 of 2


                                                                                                                                         Page 000060
Case 2:21-cv-06327-JFW-MAR Document 1 Filed 08/05/21 Page 61 of 103 Page ID #:61




                               EXHIBIT J




                                                                     Page 000061
Electronically FILED by Superior Court of California, County of Los Angeles on 07/22/2021 05:10 PM Sherri R. Carter, Executive Officer/Clerk of Court, by M. Panganiban,Deputy Clerk
                 Case 2:21-cv-06327-JFW-MAR Document 1 Filed 08/05/21 Page 62 of 103 Page ID #:62

                                                                                                                                                                        POS-010
              ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, andaddre:;s)                                                       FORCOURTUSEONL"
              YANA G. HENRIKS, ESQ SBN 250638
              MCMURRAY HENRI KS, LLP
              811 WILSHIRE BLVD SUITE 1640
              LOS ANGELES, CP 90017
                       TELEPHONE NO: 323-931-6200                   FAX NO (Optional):
              E-MAIL ADDRESS (Optional):
                 ATTORNEY FOR (Name): PLAINTIFF
              SUP ERi OR COURT OF CALIFORNIA, COUNTY OF Los Angeles
                STREET ADDRESS: 111 N Hill St
              MAILING ADDRESS:
              CITY AND ZIP CODE: Los Angeles, 90012
                  BRANCH NAME: STANLEY MOSK COURTHOUSE
                 PLAINTIFF/ PETITIONER: ROSHAWN DOUGLAS                                                                      CASE NUMBER:
              DEFENDANT/ RESPONDENT: CITY OF GARDENA                                                                         21STCV20536
                                                                                                                             Ref. No. or Fne No.:
                                              PROOF OF SERVICE OF SUMMONS                                                    5856248
                                                           (Separate proof of service is required for each party served.)
            1. At the time of service I was at least 18 years of age and not a party to this action.
            2. I served copies of:
               a.    W    summons
               b.    W    complaint
               c.    [TI  Alternative Dispute Resolution (ADR) package, FIRST AMENDED GENERAL ORDER
               d.    [TI  Civil Case Cover Sheet (served in complex coses only)
               e. D cross-complaint
               f.    W    other (specify documents): NOTICE OF CASE MANAGEMENT CONFERENCE, NOTICE OF CASE ASSIGNMENT
            3. a. Party served (specify name of party as shown on documents served):
                    STEVE KIM
               b.    W    Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under item Sb on
                          whom substituted service was made) (specify name and relationship to the party named in item 3a):
                          ANAHI CORTE, PERSON AUTHORIZED TO ACCEPT SERVICE
            4. Address where the party was served:
               1700 W 162N D ST, GARDENA, CA 90247
            5. I served the party (check proper box)
               a. [TI by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
                          receive service of process for the party (1) on (date); Wed, Jul 07 2021                     (2) at (time); 04:23 PM
               b. D by substituted service. On (dare);                                          at (time);                                I left the documents listed in
                          item 2 with or in the presence of (name and title or relationship to person indicated in item 3):

                             (1)0 (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the person co
                                  be served. I informed him or her of the general nature ofche papers.
                             (2i  D
                                  (home) a competent member of the household (at lease 18 years of age) at the dwelling house or usual place of abode of
                                  the party. I informed him or her of the general nature ofche papers.
                             <3)  D
                                  (physical address unknown) a person at lease 18 years of age apparently in charge at the usual mailing address of the
                                  person to be served, other than a United States Postal Service pose office box. I informed him or her of the general nature
                                  of the papers.
                             (4)  D
                                  I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the place
                                  where the copies were left (Code Civ. Proc.,§ 415.20). I mailed the documents on (date):
                                  from (ciryJ:                                                                      orD a. declaration of mailing is attached.
                             (5)  D
                                  I attach a declaration of diligence stating actions taken first to attempt personal service.




            Form Adopted for Mandatory Use                                  PROOF OF SERVICE OF SUMMONS                                                                  Page 1 of2
            Judicial Council of California                                                                                                          Code of Civil Procedure,§ 417.10
            POS-010 [Rev.January 1, 2007]

                                                                                                                                                       Page 000062
     Case 2:21-cv-06327-JFW-MAR Document 1 Filed 08/05/21 Page 63 of 103 Page ID #:63

    PLAINTIFF/ PETITIONER: RO SHAWN DOUGLAS                                                                          CASE NUMBER :
 DEFENDANT/ RESPONDENT: CITY OF GARDENA                                                                              21 STCV20536


5.    c.   D         by mail and acknowledgment of receipt of service. I mai led the documents listed in item 2 to the party, to the address shown in item
                     4, by first-class mail, postage prepaid.
                     (1) on (date):                                                (2) from (city) :
                     (3)  D        with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed to me. (Attach
                                   completed Notice and Acknowledgement af Receipt.) (Code Civ. Proc., § 415.30.)
                     (4)  D        to an address outside California with re t urn receipt requested . (Code Civ. Proc.,§ 415.40.)
      d.   D         by other means (specify means of service and authorizing code section):


           D         Additiona l page describi ng service is attached.
6.    The "Notice to the Person Served" (o n the summons) was completed as follows:
      a. [KJ as an individua l defendant.
      b.   D         as the person sued under the fictitious name of (specify):
      c.   D         as occupant.
      d.   D         On beha lf of (specify):
                     under the fo llowing Code of Civil Proce dure section:
                     D     41 6.10 (corporation)                                            D      415.95 (business organi za tion, form unknown)
                     D       41 6.20 (defunct corporation)                                  D      41 6.60 (minor)
                     D       416 .30 Uoint stock company/association)                       D      41 6.70 (ward or conservatee)
                     D       416.40 (association or partnership)                            D      416.90 (authorized person)
                     D       416.50 (pub li c entity)                                       D      415.46 (o ccupant)
                     D       other:
7.    Person who served papers
      a. Name :                     CHRIS RODRIGUEZ
      b. Address:                   288 E LIVE OAK AVE SUITE A501 , ARCADIA, CA 91006
      c. Telep hone number:         (323) 803-3660
      d. The fee for service was: $68.00
      e. I am:
          (1)      D not a registered Ca li fo rnia proce ss serve r.
           (2)     D      exempt from registration under Business and Profess ions Code section 22350(b).
           (3)     IT]    a regis te red Ca li fornia process server:
                          (i )   IT] owner      D       employee   D     independ ent contractor
                          (ii) Regi stration No: 2017 -272254
                          (iii) County: LOS ANGELE:S
8.    IT]        I declare under pena lty of perjury under the laws of the State of Cal ifornia that the foregoing is t rue and correct .
                 or
9.    D          I am a Cal ifornia sheriff or marshal and I certify that t he foregoing is true and correct.




Date:      07/ 07 /2021
CHRIS RODRIGUEZ
     (N AME OF PER..,ON WHO SERVED PAPERS/ SHERIFF OR MARSHAL)




POS-010 [Rev.January 1, 2007]                                           PROOF OF SERVICE OF SUMMONS                                                       Page2of2


                                                                                                                                            Page 000063
Case 2:21-cv-06327-JFW-MAR Document 1 Filed 08/05/21 Page 64 of 103 Page ID #:64




                               EXHIBIT K




                                                                     Page 000064
Electronically FILED by Superior Court of California, County of Los Angeles on 07/22/2021 05:16 PM Sherri R. Carter, Executive Officer/Clerk of Court, by M. Panganiban,Deputy Clerk
                 Case 2:21-cv-06327-JFW-MAR Document 1 Filed 08/05/21 Page 65 of 103 Page ID #:65

                                                                                                                                                                         POS-010
             ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address)                                                         FOR COURT USE ONLY
             YANA G. HENRIKS, ESQ SBN 250638
             MCMURRAY HENRI KS, LLP
             811 WILSHIRE BLVD SUITE 1640
             LOS ANGELES, CA 90017
                      TELEPHONE NO: 323-931-6200                   FAX NO (Optional):
             E-MAIL ADDRESS (Optional):
                ATTORNEY FOR (Name): PLAINTIFF
             SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
               STREET ADDRESS: 111 N Hill.St
             MAILING ADDRESS:
             CITY AND ZIP CODE: Los Angeles, 90012
                 BRANCH NAME: STANLEY MOSK COURTHOUSE
                PLAINTIFF/ PETITIONER: ROSHAWN DOUGLAS                                                                       CASE NUMBER:
             DEFENDANT/ RESPONDENT: CITY OF GARDENA                                                                          21STCV20536
                                                                                                                             Ref. No. or File No.:
                                              PROOF OF SERVICE OF SUMMONS                                                    5356248
                                                             (Separate proof of service is required for each party served.)
            1.    At the time of service I was at least 18 years of age and not a party to this action.
            2.    I served copies of:
                  a. [TI summons
                  b. [TI complaint
                  c.  W      Alternative Dispute Resolution (ADR) package, FIRST AMENDED GENERAL ORDER
                  d. [TI Civil Case Cover Sheet (served in complex cases only)
                  e.  D      cross-complaint
                  f.  W      other (specify documents): NOTICE OF CASE MANAGEMENT CONFERENCE, NOTICE OF CASE ASSIGNMENT
            3.    a. Party ser;ed (specify name of party as shown on documents served):
                       WILLIAM MCREYNOLDS
                  b. []] Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under item Sb on
                             whom substituted service was made) (specify name and relationship to the party named in item 3a):
                             ANAHI CORTE, PERSON AUTHORIZED TO ACCEPT SERVICE
            4.    Address where the party was served:
                  1700 W 162ND ST. GARDENA. CA 90247
            5.    I served the party (check proper box)
                  a. []J by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
                             receive service of process for the party (1) on (date): Wed,Jul 07 2021                     (2) at (time): 04:23 PM
                  b.  D      by substituted service. On (date):                                   at (time):                                I left the documents listed in
                             item 2 with or in the presence of (name and title or relationship to person indicated in item 3):

                             (1)0 (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the person to
                                  be served. I informed him or her of the general nature of the papers.
                             (2> D(home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of abode of
                                  the party. I informed him or her of the general nature of the papers.
                             <3> D(physical address unknown) a person at least 1 8 years of age apparencly in charge at the usual mailing address of the
                                  person to be served, other than a United States Postal Service post office box. I informed him or her of the general nature
                                  of the papers.
                             (4)  D
                                  I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the place
                                  where the copies were left (Code Civ. Proc.,§ 415.20). I mailed the documents on (date):
                                  from (city):                                                                     or               D
                                                                                                                            a declaration of maili'lg is attached.
                             <s> DI attach a declaration of diligence stating actions taken first to attempt personal service.




            Form Adopted for Mandatory Use                                  PROOF OF SERVICE OF SUMMONS                                                                   Page 1 of2
            Judicial Council of California                                                                                                           Code of Civil Procedure,§ 417.10
            P05-01 o [Rev.January 1, 2007]

                                                                                                                                                        Page 000065
     Case 2:21-cv-06327-JFW-MAR Document 1 Filed 08/05/21 Page 66 of 103 Page ID #:66

    PLAINTIFF/ PETITIONER: ROSHAWN DOUGLAS                                                                         CASE NUMBER:
 DEFENDANT/ RESPONDENT: CITY OF GARDENA                                                                            21STCV20536


5.   c.    D         by mail and acknowledgment of receipt of service. I mailed the documents l isted in item 2 to the party, to the address shown in item
                     4, by first-class mail, postage prepaid.
                     (1) on (date):                                              (2) from (city):
                     (3) D         with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed to me . (Attach
                                   completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc.,§ 415.30.)
                     (4) D         to an address outsioe California with return receipt requested. (Code Civ. Proc.,§ 415.40.)
     d.    D         by other means (specify means of service and authorizing code section):


           D         Additional page describing service is attached.
6.   The "Notice to the Person Served" (on the summons) was completed as follows:
     a. [K] as an individua l defendant.
      b.   D         as the person sued under the fictitious name of (specify):
     c.    D         as occupant.
     d.    D         On behalf of (specify):
                     under the following Code of Civil Procedure section:
                     D     416.10 (corporat ion)                                         D      415.95 (business organ iza t ion, form unknown)
                     D      416.20 (defunct corporation)                                 D      416. 60 (mi nor)
                     D      416.30 (joint stock company/association)                     D      416 .70 (ward or conservatee )
                     D      416.40 (association or partnership)                          D      416.90 (authorized person)
                     D      416.50 (pu blic entity)                                      D      415.46 (occupant)
                     D          other:
7.    Person who served papers
      a. Name:                      CHRIS RODRIGUEZ
      b. Address:                   288 E LIVE OAK AVE SUITE A501, ARCADIA, CA 91006
      c. Telephone number:          (323) 803-3660
      d. The fee for service was: $68.00
      e. I am:
          (1)      D not a registered California process server.
           (2)     D      exempt from registrati on under Business and Professions Code section 22350(b).
           (3)     m      a registered California process server:
                          (i)      [K] owner   D      employee   D    independent contractor
                          (ii)  Registration No: 2017 -272254
                          (iii) County: LOS ANGELES
8.   m           I declare under penalty of perjury under the laws of the State of California that the foregoing is t rue and correct.
                 or
9.   D           I am a California sheriff or marshal and I certify that the foregoing is true and correct.




Date:      07/07/20L1
CHRIS RODRIGUEZ
     (N AME OF PERSON WHO SERVED PAPERS/ SHERIFF OR MARSHAL)




POS-01 O[Rev.Jan uary 1, 2007]                                       PROOF OF SERVICE OF SUMMONS                                                       Page 2 of2


                                                                                                                                         Page 000066
Case 2:21-cv-06327-JFW-MAR Document 1 Filed 08/05/21 Page 67 of 103 Page ID #:67




                               EXHIBIT L




                                                                     Page 000067
Electronically FILED by Superior Court of California, County of Los Angeles on 07/22/2021 05:16 PM Sherri R. Carter, Executive Officer/Clerk of Court, by M. Panganiban,Deputy Clerk
              Case 2:21-cv-06327-JFW-MAR Document 1 Filed 08/05/21 Page 68 of 103 Page ID #:68

                                                                                                                                                                          POS-010
              ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address)                                                        FOR COURT USE ONLY
              YANA G. HENRIKS, ESQ SBN 250638
              MCMURRAY HENRI KS, LLP
              811 WILSHIRE BLVD SUITE 1640
              LOS ANGELES, CA 90017
                       TELEPHONE NO: 323-931-6200                   FAX NO (Optional):
              E-MAIL ADDRESS l'?ptionalj:
                 ATTORNEY FOR (Name): PLAINTIFF
              SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
                STREET ADDRESS: 111 N Hill St
              MAILING ADDRESS:
              CITY AND ZIP CODE: Los Angeles, 90012
                  BRANCH NAME: STANLEY MOSK COURTHOUSE
                 PLAINTIFF/ PETITIONER: ROSHAWN DOUGLAS                                                                      CASE NUMBER:
              DEFENDANT/ RESPONDENT: CITY OF GARDENA                                                                         21STCV20536
                                                                                                                             Ref. No. or File No.:
                                              PROOF OF SERVICE OF SUMMONS                                                    5856248
                                                           (Separate proof of service is required for each party served.)
            1. At the time of service I was at least 18 years of age and not a party to this action.
            2. I served copies of:
               a.    [J[] summons
               b.    [J[] complaint
               c.    W    Alternative Dispute Resolution (ADR) package, FIRST AMENDED GENERAL ORDER
               d.    [J[] Civil Case Cover Sheet (served in complex cases only)
               e.    D    cross-complaint
               f.    W    other (specify documents): NOTICE OF CASE MANAGEMENT CONFERENCE, NOTICE OF CASE ASSIGNMENT
            3. a. Party served (specify name of party as shown on documents served):
                    GEORGE BUKHIN
               b. IT] Person (other than the party in item 3a) served on behalfofan entity or as an authorized agent (and not a person under item Sb on
                          whom substituted service was made) (specify name and relationship to the party named in item 3a):
                          ANAHI CORTE, PERSON AUTHORIZED TO ACCEPT SERVICE
            4. Address where the party was served:
               1700 W 162ND ST, GARDENA, CA 90247
            5. I served the party (check proper box)
               a. [J[] by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
                          receive service of process for the party (1) on (date): Wed, Jul 07 2021                     (2) at (time): 04:23 PM
               b.    D    by substituted service. On (date):                                    at (time):                                I leh the documents listed in
                          item 2 with or in the presence of (name and title or relationship to person indicated in item 3):

                             (1)0 (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the person to
                                  be served. I informed him or her ofthe general nature of the papers.
                             (2)  D
                                  (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of abode of
                                  the party. I informed him or her ofthe general nature of the papers.
                             (3)  D
                                  (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing address of the
                                  person to be served, other than a United States Postal Service post office box. I informed him or her of the general nature
                                  of the papers.
                             (4)  D
                                  I thereaher mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the place
                                  where the copies were leh (Code Civ. Proc.,§ 415.20). I mailed the documents on (date):
                                  from (city):                                                                     or               D
                                                                                                                            a declaration of mailing is attached.
                             (5)  D
                                  I attach a declaration of diligence stating actions taken first to attempt personal service.




            Form Ad opted for Mandatory use                                 PROOF OF SERVICE OF SUMMONS                                                                   Page 1 of2
            Judicial Cound of California                                                                                                             Code of Civil Procedure,§ 417.10
            POS-010 [Rev.January 1, 2007)

                                                                                                                                                        Page 000068
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    PLAINTIFF /PETITIONER: ROSHAWN DOUGLAS                                                                         CASE NUMBER :
 DEFENDANT I RESPONDENT: CITY OF GARDENA                                                                           21 STCV20536


5.    c.   D         by mail and acknowledgment of receipt of service. I mailed the documents l isted in item 2 to the party, to the address shown in item
                     4, by first-class mail, postage prepaid,
                     (1) on (date):                                              (2) from (city):
                     (3)  D        with two copies of the Notice and Acknowledgment of Receipt and a postage-pa id return envelope addressed to me. (Attach
                                   completed Notice and Acknowledgement of Receipt.) (Code Ci v. Proc.,§ 415.30 .)
                     (4)  D        to an address outside California with return receipt requested . (Code Civ. Proc.,§ 415.40.)
      d.   D         by other means (specify means of service and authorizing code section):


           D         Add it ional page describing service is atta ched .
6.    The "Notice to the Person Served" (o n the summons) was completed as follows:
      a. [TI as an individua l defendant.
      b.   D         as the person sued under the fictitious name of (specify):
      c.   D         as occupant .
      d.   D         On behalf of (specify):
                     under the following Code of Civil Procedure section:
                     D     416.1 O {corporation)                                           D      415.95 (business organization, form unknown)
                     D       41 6.20 {defunct corporation)                                 D      416.60 (minor)
                     D       416.30 Oo int stock company/ association)                     D      416. 70 {ward or conservatee)
                     D       416.40 (assoc iation or partnership)                          D      416.90 (authorized person)
                     D       416.50 {publi c entity)                                       D      415.46 (occupant)
                     D           other:
7.    Person who served papers
      a. Name:                      CHRI S RODRIGUEZ
      b. Address:                   288 E LIVE OAK AVE SUITE A501 , ARCADIA, CA 91006
      c. Telephone number:          (323) 803-3660
      d. The fee for service was: $68.00
      e. I am:
          (1)      D not a registered California process serve r.
           (2)     D      exempt from registration under Business and Professions Code section 22350(b).
           (3)     [TI    a registered California process server:
                          (i )      [TI owner   D      employee   D    independent contractor
                          (ii)  Registration No: 2017-272254
                          (iii) County: LOS ANGELES
8.    W          I declare under penalty of perjury un der the laws of t he State of California that the forego ing is true and correct .
                 or
9.    D          I am a California sheriff or marshal and I certify that the fo regoi ng is true and correct.




Da te:     07 /0712021
CHRIS RODRIGUEZ
     (N AME OF PERSON WH O SERVED PAPERS/ SHERIFF OR MARSHAL)




POS-0 10 [Rev.January 1, 2007)                                      PROOF OF SERVICE OF SUMMONS                                                           Page 2 of 2


                                                                                                                                            Page 000069
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                               EXHIBIT M




                                                                     Page 000070
Electronically FILED by Superior Court of California, County of Los Angeles on 07/22/2021 05:16 PM Sherri R. Carter, Executive Officer/Clerk of Court, by M. Panganiban,Deputy Clerk
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                                                                                                                                                                          POS-010
            ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address)                                                        FOR COURT USE ONLY
            YANA G. HENRIKS,ESQ SBN 25038
            MCMURRAY HENRI KS, LLP
            811 WILSHIRE BLVD SUITE 1640
            LOS ANGELES, CA 90017
                      TELEPHONE NO: 323-931-6200                         FAX NO (Optional):
            E·MAI L ADDR ESS (OplionaQ:
               ATTORNEY FOR (Name): PLAINTIFF

            SUPERIOR COU RT OF CALIFORNIA, COUNTY OF         Los Angeles
              STREET ADDRESS: 111 N Hill St
            MAI LI NG ADDRESS:
            CITY AND ZIP CODE: Los Angeles, 90012
                BRANCH NAME: STANLEY MOSK COURTHOUSE

                 PLAINTIFF / PETITIONER:   ROSHAWN DOUGLAS                                                                  CASE NUMBER :
            DEFENDANT/ RESPONDENT:         CITY OF GARDENA                                                                  21 STCV20536

                                                                                                                            Ref. No. or File No.:
                                               PROOF OF SERVICE OF SUMMONS
                                                                                                                            5856218
                                                             (Separate proof of service is required for each party served.)
           1.   At the ti me of service I was at lea st 18 years of age and not a party to t his action.
           2.   I served copies of:
                a. [KJ summons
                b.   [KJ    complaint
                c.   W     Alternative Dispute Resolution (ADR) package, FIRST AMENDED GENERAL ORDER
                d.   [KJ    Civil Case Cover Sheet (served i n complex cases only)
                e.   D      cross-compla int
                f.   [KJ    ot'~er (specify documents):   NOTICE OF CASE ASSIGNMENT, NOTICE OF CASE MANAGEMENT CONFERENCE
           3.   a.  Party served (specify name of party as shown on documents served):
                    CITY OF GARDENA
                b. [KJ Pe rson (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under item Sb on
                           whom substituted service was made) (specify name and relationship to the party named in item 3a):
                           MINA SEMENZA PERSON AUTHORIZED TO ACCEPT SERVICE
           4.   Address where the party was served:
                1700 W 162N D ST, GARDENA, CA 90247
           S.   I served the party (check proper box)
                a. [KJ by personal service . I personally delivered the documents liste d in item 2 to the party or person authorized to
                           rece ive service of process for the party (1) on (date): Fri, Jul 02 202 1                   (2 ) at (time): 03:35 PM
                b.   D     by substituted service . On (date):                                   at (time) :                                I left the docume nts li sted in
                           item 2 with or in the presence of (name and title or rel ationship to person indicated in item 3) :


                           (1)   0      (business) a person at lea st 18 years of age appa rently in charge at the office or usual place of business of the person to
                                        be served. I informed him or her of the gene ral nature of the papers .
                           <2>   D      (home) a competent member ofth e househo ld (at least 18 years of age) at the dwell ing house or usua l place of abode of
                                        the party. I informed him or her of the general nature of the papers.
                           <3>   D      (physical address unknown) a person at I east 18 years of age apparentl y in charge at the usual mailing address of t he
                                        person to be served, other than a United States Postal Service post office box. I informed him or her of the general nature
                                        of the papers .
                           <4>   D      I thereafter mailed (by first-class, postage prepa i d) copies of the documents to the person to be served at the place
                                        where the copies were left (Code Civ. Proc.,§ 415 .20). I mailed the documents on /date) :
                                        from /city):                                                                    or        D
                                                                                                                                 a declaration of mailing is attached.
                           (5)   D      I attach a declaration of diligence stat ing actions taken first to attempt personal service.




           corm Adop ted for Man datory use                                PROOF OF SERVICE OF SUMMONS                                                                     Page 1 of2
           Judicial Council of California                                                                                                           Code of Civ il Procedu re,§ 417.10
           POS-010 [R ev.Jan uary 1, 2007)


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        PLAINTIFF/PETITIONER:          RO SHAWN DOUGLAS                                                             CASE NUMBER:
     DEFENDANT/ RESPONDENT:            CITY OF GARDENA                                                              21 STCV2 0536

5.     c.   D      by mail and acknowledgment of receipt of service. I mai led the documents list ed in item 2 to the party, to the address shown in item
                   4, by firs t-clas s mail, postage prepaid,
                   (1) on (date):                                               (2) from (city):
                   (3)  D         w ith two copies of t he Notice and Acknowledgment of Receipt and a postage-pa id return envelope addressed t o me . (Atrach
                                  completed Notice and Acknowledgement of Receipt. ) (Code Civ. Proc. , § 415.30 .)
                   (4)  D         to an address outside California with return rece ipt reque sted. (Code Civ. Proc.,§ 415.40.)
       d.   D      by other means (specify means of service and authorizing code section):


            D      Additional page describi ng service is attached.
6.     The "N otice to the Person Served" (o n the summons) was completed as follows:
       a.   D     as an in dividual defendant.
       b.   D      as the person sued under the fictitious name of (specify):
       c.   D      as occupant.
       d.   [TI    On behalf of (specify): CITY OF GARDENA
                   under the follow ing Code of Civil Procedure secti on:
                   W     416.10 (corporation)                                              D      415.95 (business organization, form unknown)
                   D          416.20 (de fu nct corporation)                               D      41 6.60 (minor)
                   D          416.30 (joint stock company/associa tio n)                   D      416. 70 (ward or conservatee )
                   D          416.40 (association or partne rs hip)                        D      416.90 (authori zed pe rson)
                   D          416.50 (pu blic entity)                                      D      415.46 (occupant)
                   D          other:
7.     Person who served papers
       a. Name:                      CHRIS RODRIGUEZ
       b. Address:                   288 E LIVE OAK AVE SUITE AS01, ARCAD IA, CA 91006
       c. Telephone number:          (323) 803-3660
       d. The fee for service was: $68.00
       e. I am:
           (1)    D   not a registered Californ ia process server.
            (2)   D     exempt from registration under Business and Profe ssions Code section 223S0(b).
            (3)   [TI   a registered Ca lifornia process server:
                        (i)      [TI owner      D       emp loyee   D   independ ent contractor
                       (ii)   Registration No: 2017 -272254
                       (iii ) County: LOS ANGELES
8.     (X]    I declare under penalty of perjury unde r the laws of t he State of California that the foregoing is true and correct.
              or
9.     D      I am a California sheriff or marshal and I certify t hat the foregoing is true and correct.




                                                                                                  cb/10 (SIGWw
Date:
CHRIS RODRIGUEZ
      (N AME OF PERSON WHO SERVED PAPERS/ SHERIFF OR MARSHAL)




POS-010 [ Rev.Ja nu ary 1, 2007)                                      PROOF OF SERVICE OF SUMMONS                                                    Page 2 of2


                                                                                                                                       Page 000072
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                               EXHIBIT N




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                               EXHIBIT O




                                                                     Page 000076
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                                                                                                Reserved for Clerk’s File Stamp
                  SUPERIOR COURT OF CALIFORNIA
                     COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:
 Stanley Mosk Courthouse
 111 North Hill Street, Los Angeles, CA 90012

                   NOTICE OF CASE ASSIGNMENT
                          UNLIMITED CIVIL CASE

                                                                                 CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below. 21STCV20536

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                ASSIGNED JUDGE               DEPT     ROOM                  ASSIGNED JUDGE                       DEPT             ROOM
   ✔     Timothy Patrick Dillon             73




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   Sherri R. Carter, Executive Officer / Clerk of Court
       06/03/2021
    on _____________________________                                        D. Williams
                                                                         By __________________________________, Deputy Clerk
                 (Date)
LACIV 190 (Rev 6/18)       NOTICE OF CASE ASSIGNMENT – UNLIMITED CIVIL CASE                                           Page 000077
LASC Approved 05/06
Case 2:21-cv-06327-JFW-MAR Document 1 Filed 08/05/21 Page 78 of 103 Page ID #:78




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                               EXHIBIT Q




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                                    Case 2:21-cv-06327-JFW-MAR Document 1 Filed 08/05/21 Page 81 of 103 Page ID #:81
Electronically FILED by Superior Court of California, County of Los Angeles on 06/10/2021 02:24 PM Sherri R. Carter, Executive Officer/Clerk of Court, by W. Moore,Deputy Clerk




                                                   Randy H. McMurray, Esq. (SBN: 126888)
                                               1
                                                   Email: rmcmurray@law-mh.com
                                               2   Yana G. Henriks, Esq. (SBN 250638)
                                                   Email: yhenriks@law-mh.com
                                               3   Lauren I. Fredeinberg, Esq. (SBN 312428)
                                                   Email: Lfreidenberg@law-mh.com
                                               4   McMURRAY HENRIKS, LLP
                                               5   811 Wilshire Blvd., Suite 1640
                                                   Los Angeles, California 90017
                                               6   Telephone: (323) 931-6200
                                                   Facsimile: (323) 931-9521
                                               7
                                               8   Attorneys for Plaintiff, ROSHAWN DODUGLAS

                                               9                   SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                              10
                                                                 FOR THE COUNTY OF LOS ANGELES, CENTRAL DISTRICT
                                              11
                                                                                                               CASE NO.: 21STCV20536
                                              12                                                               [Assigned to the Hon. Timothy Dillon Patrick,
         811 WILSHIRE BOULEVARD, SUITE 1640




                                                   ROSHAWN DOUGLAS, an individual,                             Dept. 73]
                                              13
             MCMURRAY HENRIKS, LLP

               LOS ANGELES, CA 90017




                                              14                     Plaintiff,                                PLAINTIFF’S NOTICE OF POSTING
                                                                                                               JURY FEES
                                              15                        vs.
                                              16   CITY OF GARDENA, a California municipal
                                                                                                               Action filed: June 1, 2021
                                              17   entity; STEVE KIM, an individual; BRIAN
                                                   PARK, an individual; ARNOLD PETERSON,
                                              18   an individual; MAYDA ZELAYA, an
                                                   individual; CHAD AMERINE, an individual;
                                              19
                                                   JASON HOOKER, an individual; NICHOLAS
                                              20   BEERLING, an individual; MARK
                                                   THOMPSON, an individual; WILLIAM
                                              21   MCREYNOLDS, an individual; GEORGE
                                                   BUKHIN, an individual; and DOES 1-100
                                              22
                                                   inclusive,
                                              23
                                                   Defendants.
                                              24
                                              25
                                              26
                                              27
                                              28



                                                                                                 1
                                                                              PLAINTIFF’S NOTICE OF POSTING JURY FEES                                       Page 000081
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                                      1   TO THE COURT, ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:
                                      2           PLEASE TAKE NOTICE that Plaintiff ROSHAWN DOUGLAS hereby submits a
                                      3   jury fee deposit in the amount of $150 in the above-entitled action pursuant to California Code
                                      4   of Civil Procedure Section 631(b).
                                      5
                                      6
                                          DATED: June 10, 2021                          MCMURRAY HENRIKS, LLP
                                      7
                                      8
                                      9
                                                                                              By: ___________________
                                     10                                                       Yana G. Henriks, Esq.
                                                                                              Attorneys for Plaintiff
                                     11                                                       ROSHAWN DOUGLAS

                                     12
811 WILSHIRE BOULEVARD, SUITE 1640




                                     13
    MCMURRAY HENRIKS, LLP

      LOS ANGELES, CA 90017




                                     14
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                                                                    PLAINTIFF’S NOTICE OF POSTING JURY FEES               Page 000082
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Electronically FILED by Superior Court of California, County of Los Angeles on 07/28/2021 03:59 PM Sherri R. Carter, Executive Officer/Clerk of Court, by V. Delgadillo,Deputy Clerk


                    1 Eugene P. Ramirez (State Bar No. 134865)
                        epr@manningllp.com
                    2 Angela M. Powell (State Bar No. 191876)
                        amp@manningllp.com
                    3 Steven McNicholl (State Bar No. 323191)
                        sam@manningllp.com
                    4 MANNING & KASS
                      ELLROD, RAMIREZ, TRESTER LLP
                    5 801 S. Figueroa St, 15th Floor
                      Los Angeles, California 90017-3012
                    6 Telephone: (213) 624-6900
                      Facsimile: (213) 624-6999
                    7
                      Attorneys for Defendants, CITY OF GARDENA
                    8
                                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
                    9
                                          COUNTY OF LOS ANGELES, CENTRAL DISTRICT
                   10

                   11
                          ROSHAWN DOUGLAS, an individual,                                               Case No. 21STCV20536
                   12                                                                                   Assigned to Hon. Timothy Dillon
                                                 Plaintiff,                                             Dept.
                   13
                                      v.                                                                ANSWER OF DEFENDANTS TO
                   14                                                                                   PLAINTIFF'S COMPLAINT: DEMAND
                      CITY OF GARDENA, a California municipal                                           FOR JURY TRIAL
                   15 entity; STEVE KIM, an individual; BRIAN
                      PARK, an individual; ARNOLD PETERSON,
                   16 an individual; MAYDA ZELAYA, an
                      individual; CHAD AMERINE, an individual;                                          Complaint Filed: June 1, 2021
                   17 JASON HOOKER, an individual; NICHOLAS
                      BEERLING, an individual; MARK
                   18 THOMPSON, an individual; WILLIAM
                      MCREYNOLDS, an individual; GEORGE
                   19 BUKHTN, an individual; and DOES I- 100,
                      inclusive,
                   20
                                     Defendants.
                   21

                   22

                   23                 Defendant CITY OF GARDENA (herein after as "Defendant") hereby Answers plaintiff's
                   24 Complaint on file herein (filed June 1, 2021) – (hereinafter referred to as the “Complaint”) and

                   25 defendant hereby admits, denies, and alleges as follows:

                   26                                                                         ANSWER.
                   27                 1.         Pursuant to Code of Civil Procedure section 431.30, Defendant denies generally and
                   28 specifically each and every allegation in the Complaint and denies liability as to each and every

                           ANSWER TO PLAINTIFF'S COMPLAINT BY DEFENDANT CITY OF GARDENA : DEMAND   FOR JURY
                                                                                            Page 000084
                                                                TRIAL
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    1 cause of action alleged therein. Defendant further denies that plaintiff has been damaged in the sum

    2 alleged in the Complaint, or any other sum, or at all, by any named defendant’s actions or omissions.

    3           2.     Further answering plaintiff’s Complaint on file herein, and the whole thereof, the

    4 answering Defendant denies that the plaintiff has sustained any injury, damage, or loss, if any, by

    5 reason of any act or omission on the part of the answering Defendant for which Defendant may be

    6 liable.    To the extent plaintiff asserts any other claims or contentions not specifically addressed

    7 herein above, Defendant generally and specifically denies each and every remaining allegation

    8 and/or claim.

    9                                      AFFIRMATIVE DEFENSES
   10           3.     As separate and affirmative defenses, Defendant alleges as follows:

   11                                  FIRST AFFIRMATIVE DEFENSE
   12                                          (Statute of Limitations)
   13           4.     Plaintiff's Complaint, and each alleged cause of action in it, fails to state a claim upon

   14 which relief can be granted.

   15           5.     Plaintiff's Complaint also fails to state a claim against any defendant in this action.

   16           6.     Plaintiff's claims are time-barred by the operative statute(s) of limitations (including,

   17 but not limited to, California Code of Civil Procedure § 335.1).

   18                                SECOND AFFIRMATIVE DEFENSE
   19                                       (Tort Claims Act Violation)
   20           7.     This action is barred by the Plaintiff's failure to comply with the government tort

   21 claims presentation requirements, California Government Code § 900, et seq., including but not

   22 limited to §§ 900, 900.4, 901, 905, 905.2, 910, 911, 911.2, 911.4, 945.4, 945.6, 946.6, 950.2, and

   23 950.6, to the extent applicable.

   24           8.     The Complaint is barred based on plaintiff's failure to exhaust administrative

   25 remedies prior to filing this lawsuit.

   26           9.     Plaintiff's recovery is barred for failure to timely comply with the provisions of the

   27 claims statutes, including, but not limited to California Government Code §§ 901, 905, 905.2, 911.2,

   28 945.4, 945.6, 950.2.
                                                           2
        ANSWER TO PLAINTIFF'S COMPLAINT BY DEFENDANT CITY OF GARDENA : DEMAND   FOR JURY
                                                                         Page 000085
                                             TRIAL
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    1          10.     Plaintiff's recovery is barred because the causes of action stated in the complaint do

    2 not correspond with the legal claims asserted in plaintiff's written claim. The Complaint thereby

    3 alleges legal bases for recovery which are not fairly reflected in the written claim.

    4                                  THIRD AFFIRMATIVE DEFENSE
    5                                  (Waiver, Estoppel, Unclean Hands)
    6          11.     Defendant alleges that plaintiff's action is barred by reason of conduct, actions and

    7 inactions of plaintiff which amounts to and constitutes a waiver of any right plaintiff may or might

    8 have had in reference to the matters and things alleged in the Complaint, or that otherwise estop

    9 plaintiff from recovery in this action, including but not limited to the doctrine of unclean hands.

   10                                FOURTH AFFIRMATIVE DEFENSE
   11                                     (Failure to Mitigate Damages)
   12          12.     Plaintiff's claims are barred or limited to the extent plaintiff failed to mitigate

   13 plaintiff's injuries or damages, if there were any. Plaintiff has failed to mitigate the damages, if any,

   14 which plaintiff has sustained, and to exercise reasonable care to avoid the consequences of harms,

   15 if any, in that, among other things, plaintiff has failed to use reasonable diligence in caring for any

   16 injuries, failed to use reasonable means to prevent aggravation of any injuries and failed to take

   17 reasonable precautions to reduce any injuries and damages.

   18                                  FIFTH AFFIRMATIVE DEFENSE
   19                             (Contributory and/or Comparative Liability)
   20          13.     Plaintiff's claims are barred or limited by plaintiff's contributory/comparative

   21 negligence or other conduct, acts, or omissions, and to the extent any plaintiff suffered any injury

   22 or damages, it was the result of plaintiff's own negligent or deliberate actions or omissions.

   23          14.     Plaintiff's recovery is barred because any injury or damage suffered by plaintiff was

   24 caused solely by reason of the plaintiff's wrongful acts and conduct and the willful resistance to a

   25 peace officer in the discharge of their duties. The conduct set forth in the Complaint, if and to the

   26 extent it occurred, was privileged and justified and done with a good faith belief that it was correct

   27 and no action may be taken against the answering defendants on account of such conduct.

   28                                  SIXTH AFFIRMATIVE DEFENSE
                                                          3
        ANSWER TO PLAINTIFF'S COMPLAINT BY DEFENDANT CITY OF GARDENA : DEMAND   FOR JURY
                                                                         Page 000086
                                             TRIAL
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    1                        (Public Entity/Employee Immunity for Others' Torts)
    2          15.     Plaintiff's recovery is barred because public entities and employees are immune from

    3 liability for any injury caused by the act or omission of another person. Gov. Code §§ 815 et seq.,

    4 820.2 et seq.

    5          16.     The answering Defendant is informed and believes and thereon allege that if plaintiff

    6 sustained any injury or damages, such injury or damages was solely caused or contributed to by the

    7 wrongful conduct of other defendants and/or entities or persons other than the answering defendant.

    8 To the extent that plaintiff's damages were so caused, any recovery by plaintiff as against the

    9 answering       defendant    should    be   subject       to   proportionately   comparative   equitable

   10 indemnity/contribution from such third parties.

   11                                 SEVENTH AFFIRMATIVE DEFENSE
   12                     (Public Entity/Employee Immunity for Discretionary Acts)
   13          17.     There is no liability for any injury or damages, if any there were, resulting from an

   14 exercise of discretion vested in a public employee, whether or not such discretion be abused. Gov.

   15 Code § 815.2, 820.2, 820.4, 820.8, 820 et seq.

   16          18.     Plaintiff's recovery is barred because public entities and employees are immune from

   17 liability for discharging their mandatory duties with reasonable diligence.

   18          19.     A public employee may not be held liable for injuries or damages, if any, caused by

   19 failure to adopt or by adoption of an enactment or by failure to enforce an enactment and/or law, for

   20 an injury caused by his issuance, denial, suspension or revocation or by his failure or refusal to issue,

   21 deny, suspend or revoke, any permit, license, certificate, approval, order, or similar authorization,

   22 where he is authorized by enactment to determine whether or not such authorization should be

   23 issued, denied, suspended or revoked, pursuant to Government Code §§ 818.2, 818.4, 818.8, 821

   24 and 821.2. Based thereon, each of the answering defendant is immune from liability for any injuries

   25 claimed by plaintiff, herein.

   26          20.     Defendant is immune for any detriment resulting from any of its actions or omissions

   27 at the time of the incident of which plaintiff complains pursuant to Government Code § 810 et seq.,

   28 815 et seq., 820 et seq., and 845 et seq., including, but not limited to, §§ 810, 810.2, 810.4, 810.6,
                                                            4
        ANSWER TO PLAINTIFF'S COMPLAINT BY DEFENDANT CITY OF GARDENA : DEMAND   FOR JURY
                                                                         Page 000087
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    1 810.8, 811, 811.2, 811.4, 811.6, 811.8, 820.6, 820.8, 821, 821.2, 821.4, 821.6, 821.8, 822.2, 830.5,

    2 830.6, 835.4, 844.6, and Government Code §§ 854, et seq., including, but not limited to, §§ 845.6,

    3 854.6, 854.8(a)(2), and §§ 855.4, 855.6, 855.8 and 856.4.

    4                               EIGHTH AFFIRMATIVE DEFENSE
    5                                      (Public Entity Immunity)
    6          21.    To the extent that the Complaint attempts to predicate liability upon any public entity

    7 defendants or any employees thereof for purported negligence in retention, hiring, employment,

    8 training, or supervision of any public employee, such liability is barred by Government Code

    9 sections 815.2 and 820.2 and Herndon v. County of Marin (1972) 25 Cal. App. 3d 933, 935, 936,

   10 rev’d on other grounds by Sullivan v. County of Los Angeles (1974) 12 Cal.3d 710; and by the lack

   11 of any duty running to any plaintiff; by the fact that any such purported act or omission is governed

   12 exclusively by statute and is outside the purview of any public employees’ authority; and by the

   13 failure of any such acts or omissions to be the proximate or legal cause of any injury alleged in the

   14 Complaint. See de Villers v. County of San Diego, 156 Cal.App.4th 238, 251-253, 255-256 (2007).

   15          22.    Defendant may not be held liable on a respondeat superior theory for any negligent

   16 or wrongful act or omission on the part of any subordinate. Cal. Government Code §§ 844.6, 845.6;

   17 Cal. Civil Code § 2351; Malloy v. Fong (1951) 37 Cal.2d 356, 378-379; Monell v. Department of

   18 Social Services of the City of New York (1978) 436 U.S. 658; Larez v. City of Los Angeles (9th Cir.

   19 1991) 946 F.2d 630, 645-646; cf. City of Canton v. Harris, 489 U.S. 378, 388-389 (1989); City of

   20 Los Angeles v. Heller, 475 U.S. 796 (1986).

   21                                NINTH AFFIRMATIVE DEFENSE
   22                           (Qualified Immunity & Good Faith Immunity)
   23          23.    Defendant and its agents or officers at all times relevant to this action acted

   24 reasonably and prudently under the circumstances. Defendant therefore asserts the individual

   25 defendants’ Qualified Immunity from liability to the fullest extent applicable.

   26          24.    Defendant is immune from liability under the Federal Civil Rights Act because they

   27 acted in good faith with an honest and reasonable belief that their actions were necessary and

   28 appropriate. Defendant is immune from liability under the Federal Civil Rights Act because a
                                                         5
        ANSWER TO PLAINTIFF'S COMPLAINT BY DEFENDANT CITY OF GARDENA : DEMAND   FOR JURY
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    1 reasonable police officer could believe that their acts and conduct were appropriate. Defendant is

    2 immune from liability under the Federal Civil Rights Act because their conduct did not violate

    3 clearly established rights. Defendant is also immune from liability under the doctrine of Qualified

    4 Immunity.

    5          25.    At all relevant times, defendant acted within the scope of discretion, with due care,

    6 and good faith fulfillment of responsibilities pursuant to applicable statutes, rules and regulation,

    7 within the bounds of reason, and with the good faith belief that their actions comported with all

    8 applicable federal and state laws. Harlow v. Fitzgerald (1982) 457 U.S. 800; Cal Gov. Code §§

    9 815.2 and 820.2.

   10                                TENTH AFFIRMATIVE DEFENSE
   11                                            (Assumption of Risk)
   12          26.    At the time and place referred to in the Complaint, and before such event, plaintiff

   13 knew, appreciated, and understood each and every risk involved in placing himself in the position

   14 which plaintiff then assumed, and willingly, knowingly and voluntarily assumed each of such risks,

   15 including, but not limited to, the risk of suffering personal bodily injury, lawful deprivation of

   16 right(s), or death.

   17                         RESERVATION OF AFFIRMATIVE DEFENSES
   18          27.    Because the Complaint is couched in vague and conclusory terms, Defendant

   19 cannot fully anticipate all affirmative defenses that may be applicable to this action. Accordingly,

   20 Defendant hereby reserves the right to assert additional affirmative defenses, if and to the extent

   21 that such affirmative defenses are applicable, and/or to withdraw affirmative defenses as may be

   22 appropriate. The assertion of any of the foregoing is not intended and shall not be construed as

   23 any stipulation regarding any shifting of the burden of proof to any defendant regarding any

   24 plaintiff’s claims, or elements thereof.

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        ANSWER TO PLAINTIFF'S COMPLAINT BY DEFENDANT CITY OF GARDENA : DEMAND   FOR JURY
                                                                         Page 000089
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    1                                    PRAYER FOR RELIEF
    2        WHEREFORE, the answering Defendant prays as follows:

    3        1.    That Plaintiff take nothing by this action;

    4        2.    That Defendant be awarded attorneys’ fees and costs of this suit and costs of proof;

    5              and

    6        3.    That Defendant be awarded such other relief as the Court deems just.

    7

    8 DATED: July 28, 2021                     MANNING & KASS
                                               ELLROD, RAMIREZ, TRESTER LLP
    9

   10

   11                                          By:
                                                     Eugene P. Ramirez, Esq.
   12                                                Angela M. Powell, Esq.
                                                     Steven A. McNicholl, Esq.
   13
                                                     Attorneys for Defendant, CITY OF GARDENA
   14

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        ANSWER TO PLAINTIFF'S COMPLAINT BY DEFENDANT CITY OF GARDENA : DEMAND   FOR JURY
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    1                                   DEMAND FOR JURY TRIAL
    2         Defendant hereby demands a trial before a jury on all issues presented by plaintiff’s

    3 operative Complaint that are or may be triable to a jury.

    4

    5 DATED: July 28, 2021                       MANNING & KASS
                                                 ELLROD, RAMIREZ, TRESTER LLP
    6

    7

    8                                            By:
                                                       Eugene P. Ramirez, Esq.
    9                                                  Angela M. Powell, Esq.
                                                       Steven A. McNicholl, Esq.
   10
                                                       Attorneys for Defendant, CITY OF GARDENA
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        ANSWER TO PLAINTIFF'S COMPLAINT BY DEFENDANT CITY OF GARDENA : DEMAND   FOR JURY
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    1                                         PROOF OF SERVICE
    2 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

    3        At the time of service, I was over 18 years of age and not a party to this action. I am
      employed in the County of Los Angeles, State of California. My business address is 801 S.
    4 Figueroa St, 15th Floor, Los Angeles, CA 90017-3012.

    5      On July 28, 2021, I served true copies of the following document(s) described as
      ANSWER OF DEFENDANTS TO PLAINTIFF'S COMPLAINT; DEMAND FOR JURY
    6 TRIAL on the interested parties in this action as follows:

    7

    8 Randy H. McMurray, Esq.                             Attorneys for Plaintiff, ROSHAWN DOUGLAS
      Yana G. Henriks, Esq.
    9 Lauren I. Freidenberg, Esq.
      McMURRAY HENRIKS, LLP
   10 811 Wilshire Blvd., Suite 1640
      Los Angeles, California 90017
   11 Telephone: (323) 931-6200
      Facsimile: (323) 931-9521
   12 Rmcmurray@law-mh.com
      Yhenriks@law-mh.com
   13 Lfreidenberg@law-mh.com

   14
              BY MAIL: I enclosed the document(s) in a sealed envelope or package addressed to the
   15 persons at the addresses listed in the Service List and placed the envelope for collection and
      mailing, following our ordinary business practices. I am readily familiar with the practice of
   16 Manning & Kass, Ellrod, Ramirez, Trester LLP for collecting and processing correspondence for
      mailing. On the same day that correspondence is placed for collection and mailing, it is deposited
   17 in the ordinary course of business with the United States Postal Service, in a sealed envelope with
      postage fully prepaid. I am a resident or employed in the county where the mailing occurred. The
   18 envelope was placed in the mail at Los Angeles, California.

   19         ONLY BY ELECTRONIC TRANSMISSION: Only by emailing the document(s) to the
      persons at the e-mail address(es). This is necessitated during the declared National Emergency
   20 due to the Coronavirus (COVID-19) pandemic because this office will be working remotely, not
      able to send physical mail as usual, and is therefore using only electronic mail. No electronic
   21 message or other indication that the transmission was unsuccessful was received within a
      reasonable time after the transmission. We will provide a physical copy, upon request only, when
   22 we return to the office at the conclusion of the National Emergency.

   23          I declare under penalty of perjury under the laws of the State of California that the
        foregoing is true and correct.
   24
               Executed on July 28, 2021, at Los Angeles, California.
   25

   26
                                                                 /s/ Sandra Alarcon
   27                                                     Sandra Alarcon
   28

                                                                                           Page 000092
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                               EXHIBIT S




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Electronically FILED by Superior Court of California, County of Los Angeles on 08/03/2021 03:35 PM Sherri R. Carter, Executive Officer/Clerk of Court, by X. Soto,Deputy Clerk



                   1 Eugene P. Ramirez (State Bar No. 134865)
                       epr@manningllp.com
                   2 Angela M. Powell (State Bar No. 191876)
                       amp@manningllp.com
                   3 Steven McNicholl (State Bar No. 323191)
                       sam@manningllp.com
                   4 MANNING & KASS
                     ELLROD, RAMIREZ, TRESTER LLP
                   5 801 S. Figueroa St, 15th Floor
                     Los Angeles, California 90017-3012
                   6 Telephone: (213) 624-6900
                     Facsimile: (213) 624-6999
                   7
                     Attorneys for Defendants, CITY OF GARDENA;
                   8 Officer STEVEN KIM; Officer BRIAN PARK;
                     Officer ARNOLD PETERSON; Officer MAYDA
                   9 ZELAYA; Officer CHAD AMERINE; Officer
                     JASON HOOKER; Officer NICHOLAS
                  10 BEERLING; Officer MARK THOMPSON; and
                     Officer WILLIAM MCREYNOLDS.
                  11
                                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
                  12
                                         COUNTY OF LOS ANGELES, CENTRAL DISTRICT
                  13

                  14
                         ROSHAWN DOUGLAS, an individual,                                               Case No. 21STCV20536
                  15                                                                                   Assigned to Hon. Timothy Dillon
                                                Plaintiff,                                             Dept.
                  16
                                     v.                                                                ANSWER OF DEFENDANTS TO
                  17                                                                                   PLAINTIFF'S COMPLAINT: DEMAND
                     CITY OF GARDENA, a California municipal                                           FOR JURY TRIAL
                  18 entity; STEVE KIM, an individual; BRIAN
                     PARK, an individual; ARNOLD PETERSON,
                  19 an individual; MAYDA ZELAYA, an
                     individual; CHAD AMERINE, an individual;                                          Complaint Filed: June 1, 2021
                  20 JASON HOOKER, an individual; NICHOLAS
                     BEERLING, an individual; MARK
                  21 THOMPSON, an individual; WILLIAM
                     MCREYNOLDS, an individual; GEORGE
                  22 BUKHTN, an individual; and DOES I- 100,
                     inclusive,
                  23
                                    Defendants.
                  24

                  25

                  26                 Defendants Officer STEVEN KIM, Officer BRIAN PARK, Officer ARNOLD
                  27 PETERSON, Officer MAYDA ZELAYA, Officer CHAD AMERINE, Officer JASON HOOKER,

                  28 Officer NICHOLAS BEERLING, Officer MARK THOMPSON, and Officer WILLIAM

                                                                                                                                                      Page 000094
                                   ANSWER TO PLAINTIFF'S COMPLAINT BY DEFENDANTS: DEMAND FOR JURY TRIAL
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    1 MCREYNOLDS (herein after as "Defendants") hereby Answer plaintiff's Complaint on file herein

    2 (filed June 1, 2021) – (hereinafter referred to as the “Complaint”) and Defendants hereby admit,

    3 deny, and allege as follows:

    4                                               ANSWER.
    5          1.     Pursuant to Code of Civil Procedure section 431.30, Defendants deny generally and

    6 specifically each and every allegation in the Complaint and denies liability as to each and every

    7 cause of action alleged therein. Defendants further deny that plaintiff has been damaged in the sum

    8 alleged in the Complaint, or any other sum, or at all, by any named Defendants' actions or omissions.

    9          2.     Further answering plaintiff’s Complaint on file herein, and the whole thereof, the

   10 answering Defendants deny that the plaintiff has sustained any injury, damage, or loss, if any, by

   11 reason of any act or omission on the part of the answering Defendants for which Defendants may

   12 be liable. To the extent plaintiff asserts any other claims or contentions not specifically addressed

   13 herein above, Defendants generally and specifically deny each and every remaining allegation

   14 and/or claim.

   15                                     AFFIRMATIVE DEFENSES
   16          3.     As separate and affirmative defenses, Defendants allege as follows:

   17                                 FIRST AFFIRMATIVE DEFENSE
   18                                        (Statute of Limitations)
   19          4.     Plaintiff's Complaint, and each alleged cause of action in it, fails to state a claim upon
   20 which relief can be granted.

   21          5.     Plaintiff's Complaint also fails to state a claim against any Defendants in this action.

   22          6.     Plaintiff's claims are time-barred by the operative statute(s) of limitations (including,

   23 but not limited to, California Code of Civil Procedure § 335.1).

   24                                SECOND AFFIRMATIVE DEFENSE
   25                                      (Tort Claims Act Violation)
   26          7.     This action is barred by the Plaintiff's failure to comply with the government tort

   27 claims presentation requirements, California Government Code § 900, et seq., including but not

   28 limited to §§ 900, 900.4, 901, 905, 905.2, 910, 911, 911.2, 911.4, 945.4, 945.6, 946.6, 950.2, and

                                                          2                                  Page 000095
              ANSWER TO PLAINTIFF'S COMPLAINT BY DEFENDANTS: DEMAND FOR JURY TRIAL
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    1 950.6, to the extent applicable.

    2          8.      The Complaint is barred based on plaintiff's failure to exhaust administrative

    3 remedies prior to filing this lawsuit.

    4          9.      Plaintiff's recovery is barred for failure to timely comply with the provisions of the

    5 claims statutes, including, but not limited to California Government Code §§ 901, 905, 905.2, 911.2,

    6 945.4, 945.6, 950.2.

    7          10.     Plaintiff's recovery is barred because the causes of action stated in the complaint do

    8 not correspond with the legal claims asserted in plaintiff's written claim. The Complaint thereby

    9 alleges legal bases for recovery which are not fairly reflected in the written claim.

   10                                  THIRD AFFIRMATIVE DEFENSE
   11                                  (Waiver, Estoppel, Unclean Hands)
   12          11.     Defendants allege that plaintiff's action is barred by reason of conduct, actions and

   13 inactions of plaintiff which amounts to and constitutes a waiver of any right plaintiff may or might

   14 have had in reference to the matters and things alleged in the Complaint, or that otherwise estop

   15 plaintiff from recovery in this action, including but not limited to the doctrine of unclean hands.

   16                                FOURTH AFFIRMATIVE DEFENSE
   17                                     (Failure to Mitigate Damages)
   18          12.     Plaintiff's claims are barred or limited to the extent plaintiff failed to mitigate
   19 plaintiff's injuries or damages, if there were any. Plaintiff has failed to mitigate the damages, if any,
   20 which plaintiff has sustained, and to exercise reasonable care to avoid the consequences of harms,

   21 if any, in that, among other things, plaintiff has failed to use reasonable diligence in caring for any

   22 injuries, failed to use reasonable means to prevent aggravation of any injuries and failed to take

   23 reasonable precautions to reduce any injuries and damages.

   24                                  FIFTH AFFIRMATIVE DEFENSE
   25                             (Contributory and/or Comparative Liability)
   26          13.     Plaintiff's claims are barred or limited by plaintiff's contributory/comparative

   27 negligence or other conduct, acts, or omissions, and to the extent any plaintiff suffered any injury

   28 or damages, it was the result of plaintiff's own negligent or deliberate actions or omissions.

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              ANSWER TO PLAINTIFF'S COMPLAINT BY DEFENDANTS: DEMAND FOR JURY TRIAL
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    1          14.     Plaintiff's recovery is barred because any injury or damage suffered by plaintiff was

    2 caused solely by reason of the plaintiff's wrongful acts and conduct and the willful resistance to a

    3 peace officer in the discharge of their duties. The conduct set forth in the Complaint, if and to the

    4 extent it occurred, was privileged and justified and done with a good faith belief that it was correct

    5 and no action may be taken against the answering defendants on account of such conduct.

    6                                  SIXTH AFFIRMATIVE DEFENSE
    7                        (Public Entity/Employee Immunity for Others' Torts)
    8          15.     Plaintiff's recovery is barred because public entities and employees are immune from

    9 liability for any injury caused by the act or omission of another person. Gov. Code §§ 815 et seq.,

   10 820.2 et seq.

   11          16.     The answering Defendants are informed and believe and thereon allege that if

   12 plaintiff sustained any injury or damages, such injury or damages was solely caused or contributed

   13 to by the wrongful conduct of other defendants and/or entities or persons other than the answering

   14 Defendants. To the extent that plaintiff's damages were so caused, any recovery by plaintiff as

   15 against the answering Defendants should be subject to proportionately comparative equitable

   16 indemnity/contribution from such third parties.

   17                                SEVENTH AFFIRMATIVE DEFENSE
   18                     (Public Entity/Employee Immunity for Discretionary Acts)
   19          17.     There is no liability for any injury or damages, if any there were, resulting from an
   20 exercise of discretion vested in a public employee, whether or not such discretion be abused. Gov.

   21 Code § 815.2, 820.2, 820.4, 820.8, 820 et seq.

   22          18.     Plaintiff's recovery is barred because public entities and employees are immune from

   23 liability for discharging their mandatory duties with reasonable diligence.

   24          19.     A public employee may not be held liable for injuries or damages, if any, caused by

   25 failure to adopt or by adoption of an enactment or by failure to enforce an enactment and/or law, for

   26 an injury caused by his issuance, denial, suspension or revocation or by his failure or refusal to issue,

   27 deny, suspend or revoke, any permit, license, certificate, approval, order, or similar authorization,

   28 where he is authorized by enactment to determine whether or not such authorization should be

                                                          4                                 Page 000097
              ANSWER TO PLAINTIFF'S COMPLAINT BY DEFENDANTS: DEMAND FOR JURY TRIAL
Case 2:21-cv-06327-JFW-MAR Document 1 Filed 08/05/21 Page 98 of 103 Page ID #:98




    1 issued, denied, suspended or revoked, pursuant to Government Code §§ 818.2, 818.4, 818.8, 821

    2 and 821.2. Based thereon, each of the answering defendants is immune from liability for any injuries

    3 claimed by plaintiff, herein.

    4          20.    Defendants are immune for any detriment resulting from any of its actions or

    5 omissions at the time of the incident of which plaintiff complains pursuant to Government Code §

    6 810 et seq., 815 et seq., 820 et seq., and 845 et seq., including, but not limited to, §§ 810, 810.2,

    7 810.4, 810.6, 810.8, 811, 811.2, 811.4, 811.6, 811.8, 820.6, 820.8, 821, 821.2, 821.4, 821.6, 821.8,

    8 822.2, 830.5, 830.6, 835.4, 844.6, and Government Code §§ 854, et seq., including, but not limited

    9 to, §§ 845.6, 854.6, 854.8(a)(2), and §§ 855.4, 855.6, 855.8 and 856.4.

   10                                 EIGHTH AFFIRMATIVE DEFENSE
   11                                      (Public Entity Immunity)
   12          21.    To the extent that the Complaint attempts to predicate liability upon any public entity

   13 defendants or any employees thereof for purported negligence in retention, hiring, employment,

   14 training, or supervision of any public employee, such liability is barred by Government Code

   15 sections 815.2 and 820.2 and Herndon v. County of Marin (1972) 25 Cal. App. 3d 933, 935, 936,

   16 rev’d on other grounds by Sullivan v. County of Los Angeles (1974) 12 Cal.3d 710; and by the lack

   17 of any duty running to any plaintiff; by the fact that any such purported act or omission is governed

   18 exclusively by statute and is outside the purview of any public employees’ authority; and by the
   19 failure of any such acts or omissions to be the proximate or legal cause of any injury alleged in the
   20 Complaint. See de Villers v. County of San Diego, 156 Cal.App.4th 238, 251-253, 255-256 (2007).

   21          22.    Defendants may not be held liable on a respondeat superior theory for any negligent

   22 or wrongful act or omission on the part of any subordinate. Cal. Government Code §§ 844.6, 845.6;

   23 Cal. Civil Code § 2351; Malloy v. Fong (1951) 37 Cal.2d 356, 378-379; Monell v. Department of

   24 Social Services of the City of New York (1978) 436 U.S. 658; Larez v. City of Los Angeles (9th Cir.

   25 1991) 946 F.2d 630, 645-646; cf. City of Canton v. Harris, 489 U.S. 378, 388-389 (1989); City of

   26 Los Angeles v. Heller, 475 U.S. 796 (1986).

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              ANSWER TO PLAINTIFF'S COMPLAINT BY DEFENDANTS: DEMAND FOR JURY TRIAL
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    1                                 NINTH AFFIRMATIVE DEFENSE
    2                           (Qualified Immunity & Good Faith Immunity)
    3          23.    Defendants and their agents or officers at all times relevant to this action acted

    4 reasonably and prudently under the circumstances. Defendants therefore assert the individual

    5 defendants’ Qualified Immunity from liability to the fullest extent applicable.

    6          24.    Defendants are immune from liability under the Federal Civil Rights Act because

    7 they acted in good faith with an honest and reasonable belief that their actions were necessary and

    8 appropriate. Defendants are immune from liability under the Federal Civil Rights Act because a

    9 reasonable police officer could believe that their acts and conduct were appropriate. Defendants are

   10 immune from liability under the Federal Civil Rights Act because their conduct did not violate

   11 clearly established rights. Defendants are also immune from liability under the doctrine of Qualified

   12 Immunity.

   13          25.    At all relevant times, Defendants acted within the scope of discretion, with due care,

   14 and good faith fulfillment of responsibilities pursuant to applicable statutes, rules and regulation,

   15 within the bounds of reason, and with the good faith belief that their actions comported with all

   16 applicable federal and state laws. Harlow v. Fitzgerald (1982) 457 U.S. 800; Cal Gov. Code §§

   17 815.2 and 820.2.

   18                                TENTH AFFIRMATIVE DEFENSE
   19                                         (Assumption of Risk)
   20          26.    At the time and place referred to in the Complaint, and before such event, plaintiff

   21 knew, appreciated, and understood each and every risk involved in placing himself in the position

   22 which plaintiff then assumed, and willingly, knowingly and voluntarily assumed each of such risks,

   23 including, but not limited to, the risk of suffering personal bodily injury, lawful deprivation of

   24 right(s), or death.

   25                         RESERVATION OF AFFIRMATIVE DEFENSES
   26          27.    Because the Complaint is couched in vague and conclusory terms, Defendants

   27 cannot fully anticipate all affirmative defenses that may be applicable to this action. Accordingly,

   28 Defendants hereby reserve the right to assert additional affirmative defenses, if and to the extent

                                                         6                                Page 000099
              ANSWER TO PLAINTIFF'S COMPLAINT BY DEFENDANTS: DEMAND FOR JURY TRIAL
Case 2:21-cv-06327-JFW-MAR Document 1 Filed 08/05/21 Page 100 of 103 Page ID #:100




     1 that such affirmative defenses are applicable, and/or to withdraw affirmative defenses as may be

     2 appropriate. The assertion of any of the foregoing is not intended and shall not be construed as

     3 any stipulation regarding any shifting of the burden of proof to any defendants regarding any

     4 plaintiff’s claims, or elements thereof.

     5                                       PRAYER FOR RELIEF
     6          WHEREFORE, the answering Defendant(s) pray as follows:

     7          1.     That Plaintiff(s) take nothing by this action;

     8          2.     That Defendant(s) be awarded attorneys’ fees and costs of this suit and costs of

     9                 proof; and

    10          3.     That Defendant(s) be awarded such other relief as the Court deems just.

    11

    12 DATED: August 3, 2021                       MANNING & KASS
                                                   ELLROD, RAMIREZ, TRESTER LLP
    13

    14

    15                                             By:
                                                         Eugene P. Ramirez, Esq.
    16                                                   Angela M. Powell, Esq.
                                                         Steven A. McNicholl, Esq.
    17
                                                         Attorneys for Defendant, CITY OF GARDENA;
    18                                                   Officer STEVEN KIM; Officer BRIAN PARK;
                                                         Officer ARNOLD PETERSON; Officer MAYDA
    19                                                   ZELAYA; Officer CHAD AMERINE; Officer
                                                         JASON HOOKER; Officer NICHOLAS
    20                                                   BEERLING; Officer MARK THOMPSON; and
                                                         Officer WILLIAM MCREYNOLDS.
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              ANSWER TO PLAINTIFF'S COMPLAINT BY DEFENDANTS: DEMAND FOR JURY TRIAL
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     1
                                          DEMAND FOR JURY TRIAL
     2
                Defendant(s) hereby demand a trial before a jury on all issues presented by plaintiff’s
     3
         operative Complaint that are or may be triable to a jury.
     4

     5
         DATED: August 3, 2021                      MANNING & KASS
     6                                              ELLROD, RAMIREZ, TRESTER LLP
     7

     8
                                                    By:
     9                                                    Eugene P. Ramirez, Esq.
                                                          Angela M. Powell, Esq.
    10
                                                          Steven A. McNicholl, Esq.
    11                                                    Attorneys for Defendant, CITY OF GARDENA;
                                                          Officer STEVEN KIM; Officer BRIAN PARK;
    12                                                    Officer ARNOLD PETERSON; Officer MAYDA
                                                          ZELAYA; Officer CHAD AMERINE; Officer
    13                                                    JASON HOOKER; Officer NICHOLAS
                                                          BEERLING; Officer MARK THOMPSON; and
    14
                                                          Officer WILLIAM MCREYNOLDS.
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               ANSWER TO PLAINTIFF'S COMPLAINT BY DEFENDANTS: DEMAND FOR JURY TRIAL
Case 2:21-cv-06327-JFW-MAR Document 1 Filed 08/05/21 Page 102 of 103 Page ID #:102




     1                                       PROOF OF SERVICE
     2 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

     3        At the time of service, I was over 18 years of age and not a party to this action. I am
       employed in the County of Los Angeles, State of California. My business address is 801 S.
     4 Figueroa St, 15th Floor, Los Angeles, CA 90017-3012.

     5      On August 3, 2021, I served true copies of the following document(s) described as
       ANSWER OF DEFENDANTS TO PLAINTIFF'S COMPLAINT; DEMAND FOR JURY
     6 TRIAL on the interested parties in this action as follows:

     7

     8 Randy H. McMurray, Esq.                            Attorneys for Plaintiff, ROSHAWN DOUGLAS
       Yana G. Henriks, Esq.
     9 Lauren I. Freidenberg, Esq.
       McMURRAY HENRIKS, LLP
    10 811 Wilshire Blvd., Suite 1640
       Los Angeles, California 90017
    11 Telephone: (323) 931-6200
       Facsimile: (323) 931-9521
    12 Rmcmurray@law-mh.com
       Yhenriks@law-mh.com
    13 Lfreidenberg@law-mh.com

    14
               ONLY BY ELECTRONIC TRANSMISSION: Only by emailing the document(s) to the
    15 persons at the e-mail address(es). This is necessitated during the declared National Emergency
       due to the Coronavirus (COVID-19) pandemic because this office will be working remotely, not
    16 able to send physical mail as usual, and is therefore using only electronic mail. No electronic
       message or other indication that the transmission was unsuccessful was received within a
    17 reasonable time after the transmission. We will provide a physical copy, upon request only, when
       we return to the office at the conclusion of the National Emergency.
    18
               I declare under penalty of perjury under the laws of the State of California that the
    19 foregoing is true and correct.
    20          Executed on August 3, 2021, at Los Angeles, California.
    21

    22                                                           /s/ Sandra Alarcon
                                                          Sandra Alarcon
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Case 2:21-cv-06327-JFW-MAR Document 1 Filed 08/05/21 Page 103 of 103 Page ID #:103




     1                                       PROOF OF SERVICE
     2 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

     3        At the time of service, I was over 18 years of age and not a party to this action. I am
       employed in the County of Los Angeles, State of California. My business address is 801 S.
     4 Figueroa St, 15th Floor, Los Angeles, CA 90017-3012.

     5        On August 5, 2021, I served true copies of the following document(s) described as
       NOTICE OF FILING FEDERAL NOTICE OF REMOVAL OF ACTION PURSUANT TO
     6 28 U.S.C. § 1441(a) (FEDERAL QUESTION) on the interested parties in this action as follows:

     7

     8 Randy H. McMurray, Esq.                            Attorneys for Plaintiff, ROSHAWN DOUGLAS
       Yana G. Henriks, Esq.
     9 Lauren I. Freidenberg, Esq.
       McMURRAY HENRIKS, LLP
    10 811 Wilshire Blvd., Suite 1640
       Los Angeles, California 90017
    11 Telephone: (323) 931-6200
       Facsimile: (323) 931-9521
    12 Rmcmurray@law-mh.com
       Yhenriks@law-mh.com
    13 Lfreidenberg@law-mh.com
       mescorcia@law-mh.com
    14

    15
               ONLY BY ELECTRONIC TRANSMISSION: Only by emailing the document(s) to the
    16 persons at the e-mail address(es). This is necessitated during the declared National Emergency
       due to the Coronavirus (COVID-19) pandemic because this office will be working remotely, not
    17 able to send physical mail as usual, and is therefore using only electronic mail. No electronic
       message or other indication that the transmission was unsuccessful was received within a
    18 reasonable time after the transmission. We will provide a physical copy, upon request only, when
       we return to the office at the conclusion of the National Emergency.
    19
               I declare under penalty of perjury under the laws of the United States of America that the
    20 foregoing is true and correct and that I am employed in the office of a member of the bar of this
       Court at whose direction the service was made.
    21
               Executed on August 5, 2021, at Los Angeles, California.
    22

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                                                                 /s/ Sandra Alarcon
    24                                                    Sandra Alarcon
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